Case 8:20-cv-01743-KKM-TGW                      Document 1-2            Filed 07/28/20          Page 1 of 61 PageID 35

                                                        It Works
                                             908 Riverside Dr. • Palmetto. FL 34221

IT WORKS! DISTRIBUTOR AGREEMENT
TERMS & CONDITIONS
UNITED STATES

                              Compensation Plan                     Policies and Procedures

I. AGREEMENTS
   1.   I understand that as an Independent Distributor ("Distributor") for It Works Marketing, Inc. (hereinafter "It Works!"):
           a) I have the right to sell and solicit orders for It Works! products and services in accordance with these Terms
                & Conditions. I understand that it is within the exclusive right of It Works! to accept or reject such orders.
           b) I have the right to enroll persons as Distributors of It Works!.
           c) If qualified, I have the right to earn commissions pursuant to the It Works! Compensation Plan.
   2.   I agree that as an It Works! Distributor I am an independent contractor, and not an employee, partner, legal
        representative, or franchisee of It Works!. I agree that I will be solely responsible for paying all expenses that I incur,
        including but not limited to travel, food, lodging, secretarial, office, long distance telephone and other business
        expenses. I UNDERSTAND THAT I SHALL NOT BE TREATED AS AN EMPLOYEE OF IT WORKS! FOR FEDERAL OR STATE
        TAX PURPOSES. It Works! is not responsible for withholding, and shall not withhold or deduct from my bonuses
        and commissions, if any, FICA, or taxes of any kind. I understand that I am not entitled to workers compensation
        or unemployment security benefits of any kind from It Works!. I certify that:
           a) The number shown on this form is my correct SSN or EIN (or I am waiting for a number to be issued to me),
                and
           b) I am not subject to backup withholding because: (a) I am exempt from backup withholding, or (b) I have not
                been notified by the Internal Revenue Service (IRS) that I am subject to backup withholding as a result of a
                failure to report all interest or dividends, or (c) the IRS has notified me that I am no longer subject to backup
                withholding, and
           c) I am a U.S. citizen or U.S. resident with a SSN.
   3.   I have carefully read and agree to comply with the It Works! Policies & Procedures and the It Works! Compensation
        Plan, each of which are incorporated into and made a part of these Terms & Conditions (these three documents shall
        be collectively referred to as the "Agreement"). If I have not yet reviewed the Policies & Procedures at the time I
        execute this Agreement, I understand that they are posted in my eSuite and available on the It Works! website. I will
        review the Policies & Procedures within five days from the date on which I execute this Agreement. If I do not agree
        to the Policies & Procedures, my sole recourse is to notify the company and cancel my It Works! Agreement. Failure
        to cancel constitutes my acceptance of the Policies & Procedures. I understand that I must be in good standing, and
        not in violation of the Agreement, to be eligible for bonuses or commissions from It Works!. I understand that the
        Agreement may be amended at the sole discretion of It Works!, and I agree to abide by all such amendments.
        Notification of amendments shall be posted in my It Works! eSuite. Amendments shall become effective thirty (30)
        days after notice of the amendments is posted, but amended policies shall not apply retroactively to conduct that
        occurred prior to the effective date of the amendment. The continuation of my It Works! business or my acceptance
        of bonuses or commissions after the effective date of amendments shall constitute my acceptance of any and all
        amendments.
   4.   The term of this Agreement is one year (subject to prior cancellation pursuant to the Policies & Procedures). If I do
        not renew my It Works! business by paying the annual renewal or if it is canceled or terminated for any reason, I
        understand that I will permanently lose all rights as a Distributor. I shall not be eligible to sell It Works! products and
        services nor shall I be eligible to receive commissions, bonuses, or other income resulting from my activities or the
        activities of my former downline sales organization. In the event of cancellation, termination or nonrenewal, I
        waive all rights I have, including but not limited to property rights, to my former downline organization and to
        any bonuses, commissions or other remuneration derived through the sales and other activities of my former
        downline organization. It Works! reserves the right to terminate all Distributor Agreements upon thirty (30) days
        notice if the Company elects to: (1) cease business operations; (2) dissolve as a business entity; or (3) terminate
        distribution of its products and/or services via direct selling channels.




                                                                1
                                                       EXHIBIT 1
Case 8:20-cv-01743-KKM-TGW                      Document 1-2             Filed 07/28/20           Page 2 of 61 PageID 36

                                                         It Works
                                             908 Riverside Dr. • Palmetto. FL 34221

  5.  I may not assign any rights under the Agreement without the prior written consent of It Works!. Any attempt to
      transfer or assign the Agreement without the express written consent of It Works! renders the Agreement voidable
      at the option of It Works! and may result in termination of my business.
  6. It Works!, including but not limited to any of its affiliates and/or subsidiaries, may transfer or assign this Agreement
      in its sole discretion. In the case that the Distributor does not accept the transfer or assignment, it may provide
      written notice that it wishes to terminate this Agreement. In the event of such notice being provided, the
      termination will become effective immediately. In the event It Works! chooses not to transfer a Distributor
      Agreement termination will be effective immediately.
  7. I understand that if I fail to comply with the terms of the Agreement, It Works! may impose upon me disciplinary
      sanctions as set forth in the Policies & Procedures.
  8. It Works!, its parent and/or affiliated companies, directors, officers, shareholders, employees, assigns, and agents
      (collectively referred to as "affiliates"), shall not be liable for, and I release It Works! and its affiliates from, all claims
      for consequential and exemplary damages for any claim or cause of action relating to the Agreement. I further agree
      to release It Works! and its affiliates from all liability arising from or relating to my promotion or operation of my It
      Works! business and any activities related to it (e.g., the presentation of It Works! products or Compensation Plan,
      the operation of a motor vehicle, the lease of meeting or training facilities, etc.), and agree to indemnify It Works!
      for any liability, damages, fines, penalties, or other awards arising from any unauthorized conduct that I undertake
      in operating my business.
  9. The Agreement, in its current form and as amended by It Works! at its discretion, constitutes the entire contract
      between It Works! and myself. Any promises, representations, offers, or other communications not expressly set
      forth in the Agreement are of no force or effect.
  10. Any waiver by either Party of any breach of the Agreement must be in writing and signed by an authorized agent of
      the Party against which the waiver is asserted. Any waiver of a breach by a Party shall be a one-time waiver only and
      shall not operate or be construed as a waiver of any subsequent breach.
  11. If any provision of the Agreement is held to be invalid or unenforceable, such provision shall be severed, and the
      severed provision shall be reformed only to the extent necessary to make it enforceable. The balance of the
      Agreement will remain in full force and effect.
  12. If there is any conflict between the Distributor Terms & Conditions and the Policies & Procedures, the Distributor
      Terms & Conditions shall prevail.
  13. This Agreement will be governed by and construed in accordance with the laws of the State of Florida without regard
      to principles of conflicts of laws. In the event of a dispute between a Distributor and It Works! arising from or relating
      to the Agreement, or the rights and obligations of either party, the parties shall attempt in good faith to resolve the
      dispute through nonbinding mediation as more fully described in the Policies & Procedures. It Works! shall not be
      obligated to engage in mediation as a prerequisite to disciplinary action against a Distributor. If the parties are
      unsuccessful in resolving the dispute through mediation, the dispute and shall be settled totally and finally by
      confidential arbitration as more fully described in the Policies & Procedures.
  14. Notwithstanding the foregoing, either Party may bring an action before the courts seeking a restraining order,
      temporary or permanent injunction, or other equitable relief to protect its intellectual property rights, including but
      not limited to customer and/or Distributor lists as well as other trade secrets, trademarks, trade names, patents,
      and copyrights. The parties may also seek judicial enforcement of an arbitration award. In all actions before the
      courts, the parties consent to exclusive jurisdiction and venue before the U.S. District Court for the Middle District
      of Florida, residing in Tampa, Florida or the state courts residing in Manatee County, State of Florida.
  15. Louisiana Residents: Notwithstanding the foregoing, Louisiana residents may bring an action against the Company
      with jurisdiction and venue as provided by Louisiana law.
  16. Maryland Residents: Maryland residents may cancel the contract for any reason within three (3) months after the
      date of receipt of goods or services first ordered; upon cancellation, the Company shall repurchase the goods, as
      long they are in resalable condition; and the repurchase price shall be at least 90% of the original price paid by the
      participant.
  17. Montana Residents: A Montana resident may cancel his or her Distributor Agreement within fifteen (15) days from
      the date of enrollment, and may return his or her starter kit and any products, as long as they are in resalable
      condition, he/she purchased for a full refund within such time period.




                                                                2
Case 8:20-cv-01743-KKM-TGW                     Document 1-2           Filed 07/28/20          Page 3 of 61 PageID 37

                                                       It Works
                                            908 Riverside Dr. • Palmetto. FL 34221

    18. Louisiana, Massachusetts and Wyoming Residents: Should you cancel your Distributor Agreement, It Works! will
        refund 90% of your purchase price for any renewal fees you have incurred during the current year upon receipt of
        your written request.
    19. Puerto Rico Residents: Puerto Rico residents may cancel this Agreement at any time within ninety (90) days from
        the date of enrollment, or at any time upon showing the Company's noncompliance with any of the essential
        obligations of the distribution contract or any act or omission by the Company adversely affecting the interests of
        the dealer in the development of the market of the properties or services. Your cancellation must be sent to the
        Company in writing and sent via registered mail. If you cancel under these conditions, the Company shall: (a)
        Reacquire the total of the products that you purchased from the Company which are in your possession and in good
        condition at a price of not less than ninety percent (90%) of their original net cost; (b) Return to you not less than
        ninety percent (90%) of the original net cost of any services that you acquired from the Company; (c) Return ninety
        percent (90%) of any sum paid by you for the purpose of participating in the business.
    20. A participant in this multilevel marketing plan has a right to cancel at any time, regardless of reason. Cancellation
        must be submitted in writing to the company at its principal business address or via submitting a ticket through
        the Distributor's eSuite.
    21. If a Distributor wishes to bring an action against It Works! for any act or omission relating to or arising from the
        Agreement, such action must be brought within one year from the date of the alleged conduct giving rise to the
        cause of action, or the shortest time permissible under state law. Failure to bring such action within such time shall
        bar all claims against It Works! for such act or omission. Distributor waives all claims that any other statute of
        limitations applies.
    22. I grant It Works! an irrevocable license to reproduce and use my name, photograph, video, personal story,
        testimonial, and/or likeness in its advertising or promotional materials, including but not limited to use in online
        forums, and I waive all claims for remuneration for such use. I further waive my right to inspect or approve all draft,
        beta, preliminary, and finished material.
    23. I hereby give my express consent to the Company to send e-mail messages, text messages, and/or notify me by
        phone or facsimile regarding its products, services, compensation, and offer other topics that the Company
        determines may be of interest or benefit to me. I agree that my receipt of such messages will not be deemed a
        violation of any federal or provincial legislation or regulations.
    24. A faxed copy of the Agreement shall be treated as an original in all respects.
    25. I certify that I am at least 18 years of age.

II. IT WORKS! REFUNDS AND RETURNS POLICY
All refunds and returns will be subject to the                 It   Works!    Refunds   and    Returns    Policy   located   at
https://static.myitworks.com/legal/pdf/returnspolicy.pdf.


 You, the buyer, may cancel this transaction at any time prior to midnight of the third business day after the date of this
 transaction (5 business days for AK residents, 15 business days for ND residents age 65 or over). See the receipt that
 will be emailed to you for an explanation of this right.



                                                  For Customer Support:
                                              https://itworks.com/contactus


NOVEMBER 2019




                                                              3
Case 8:20-cv-01743-KKM-TGW               Document 1-2          Filed 07/28/20        Page 4 of 61 PageID 38




                     G11 Worksl®
                                             UNITED STATES

                                      STATEMENT OF POLICIES
                                              and
                                          PROCEDURES

                                      Effective February 1, 2020

                                         TABLE OF CONTENTS


     SECTION 1- INTRODUCTION                                                                        1

       1.1- POLICIES AND COMPENSATION PLAN INCORPORATED INTO DISTRIBUTOR AGREEMENT                  1
       1.2 - PURPOSE OF POLICIES                                                                    1
       1.3 - CHANGES TO THE AGREEMENT                                                               1
       1.4 - DELAYS                                                                                 1
       1.5 - POLICIES AND PROVISIONS SEVERABLE                                                      1
       1.6 - WAIVER                                                                                 2

     SECTION 2 - BECOMING A DISTRIBUTOR                                                             2

       2.1- REQUIREMENTS TO BECOME A DISTRIBUTOR                                                    2
       2.2 - No PRODUCT PURCHASE REQUIRED                                                           2
       2.3 - DISTRIBUTOR BENEFITS                                                                   2
       2.4 - TERM AND RENEWAL OF YOUR IT WORKS! BUSINESS                                            2
       2.5 - COMPANY TRANSFER OF DISTRIBUTORS                                                       3

     SECTION 3 - OPERATING AN IT WORKS! BUSINESS                                                    3

       3.1- ADHERENCE TO THE IT WORKS! COMPENSATION PLAN                                            3
       3.2 - ADVERTISING                                                                            3
       3.2.1- GENERAL                                                                               3
       3.2.2 - MARKETING AND LEAD GENERATION SYSTEMS                                                3
       3.2.3 - DISTRIBUTOR WEBSITES                                                                 4
       3.2.4 - BLOGS, CHAT ROOMS, SOCIAL NETWORKS, ONLINE AUCTIONS, AND OTHER ONLINE FORUMS         4
       3.2.5 - DOMAIN NAMES AND EMAIL ADDRESSES                                                     4
       3.2.6 - TRADEMARKS AND COPYRIGHTS                                                            4
       3.2.7 - MEDIA AND MEDIA INQUIRIES                                                            4
       3.2.8 - UNSOLICITED EMAIL                                                                    5
       3.2.9 - UNSOLICITED FAXES OR AUTOMATED DIALING SYSTEMS                                       5
       3.2.10 - PRINT CLASSIFIED ADS                                                                5
       3.3 - BONUS BUYING PROHIBITED                                                                6
       3.4 - BUSINESS ENTITIES                                                                      6
       3.4.1- CHANGES TO A BUSINESS ENTITY                                                          6
       3.5 - CHANGE OF ENROLLER OR PLACEMENT                                                        7
Case 8:20-cv-01743-KKM-TGW                                   Document 1-2                       Filed 07/28/20                     Page 5 of 61 PageID 39


        61814#-0#CANCELLATION
        3.5.1        GERGIPPEXMSR#ERH#        VIETTPMGEXMSR#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#;#
                                      AND REAPPLICATION                                                                                                               7
        619#-0#UNAUTHORIZED
        3.6    YREYXLSVM^IH#G       CLAIMS             EGXMSRW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#<#
                                                AND ACTIONS
                                       PEMQW#ERH#                                                                                                                     8
        61914     0  M
        3.6.1- INDEMNIFICATION
                #   # RHIQRMJMGEXMSR      #
                                          1 1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#<#
                                                                                                                                                                      8
        61915#-0#PRODUCT
        3.6.2        TVSHYGX#CLAIMS
                                GPEMQW#ERH#       XIWXMQSRMEPW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#<#
                                          AND TESTIMONIALS                                                                                                            8
        61916#-0#BEFORE
        3.6.3        FIJSVI#ERH#   EJXIV#PHOTOS
                             AND AFTER       TLSXSW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#<#   8
        61917#-0#INCOME
        3.6.4        MRGSQI#CLAIMS
                              GPEMQW#ERH#XLI#        MRGSQI#DISCLOSURE
                                        AND THE INCOME           HMWGPSWYVI#STATEMENT
                                                                                  WXEXIQIRX#1111111111111111111111111111111111111111111111111111111111111111111#<#    8
        61;#-0#COMMERCIAL
        3.7    GSQQIVGMEP#OUTLETS SYXPIXW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#=#   9
        61;14#-0#CALIFORNIA
        3.7.1        GEPMJSVRME#RETAIL
                                  VIXEMP#SALEWEPI#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#=#9
        61<#-0#TRADE
        3.8    XVEHI#SHOWS,
                          WLS[W/#EXPOSITIONS
                                    I\TSWMXMSRW#ERH#         SXLIV#WSALES
                                                       AND OTHER                JSVYQW#1111111111111111111111111111111111111111111111111111111111111111111111111#=#
                                                                         EPIW#FORUMS                                                                                  9
        61<14#-0#DOUBLE-BOOKINGS
        3.8.1        HSYFPI0FSSOMRKW#DISPUTE  HMWTYXI#RESOLUTION
                                                          VIWSPYXMSR#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#43#   10
        61=#-0#CONFLICTS
        3.9    GSRJPMGXW#SJ#      MRXIVIWX11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#43#
                              OF INTEREST                                                                                                                           10
        61=14#-0#NON-SOLICITATION
        3.9.1        RSR0WSPMGMXEXMSR#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#43#    10
        61=15#-0#SALE
        3.9.2        WEPI#SJ#GSQTIXMRK#GOODS
                          OF COMPETING         KSSHW#SV#      WIVZMGIW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#43#
                                                         OR SERVICES                                                                                                10
        61=16#-0#DISTRIBUTOR
        3.9.3        HMWXVMFYXSV#PARTICIPATION
                                    TEVXMGMTEXMSR#MR#        SXLIV#DIRECT
                                                          IN OTHER     HMVIGX#SELLING
                                                                                  WIPPMRK#PROGRAMS
                                                                                             TVSKVEQW#111111111111111111111111111111111111111111111111111111#44#    11
        61=17#-0#DOWNLINE
        3.9.4        HS[RPMRI#ACTIVITY
                                 EGXMZMX]#(GENEALOGY)
                                               +KIRIEPSK],#REPORTSVITSVXW#ERH#I        WYMXI#ACCESS.
                                                                               AND ESUITE      EGGIWW1#111111111111111111111111111111111111111111111111111111111#44#11
        6143#-0#TARGETING
        3.10       XEVKIXMRK#OTHER
                                 SXLIV#DIRECT
                                           HMVIGX#SELLERS
                                                      WIPPIVW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#44#11
        6144#-0#CROSS-SPONSORING
        3.11       GVSWW0WTSRWSVMRK#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#44#       11
        6145#-0#ERRORS
        3.12       IVVSVW#SV#    UYIWXMSRW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#45#
                            OR QUESTIONS                                                                                                                            12
        6146#-0#GOVERNMENTAL
        3.13       KSZIVRQIRXEP#APPROVALETTVSZEP#SV#        IRHSVWIQIRX#1111111111111111111111111111111111111111111111111111111111111111111111111111111111#45#
                                                        OR ENDORSEMENT                                                                                              12
        6147#-0#HOLDING
        3.14       LSPHMRK#APPLICATIONS
                              ETTPMGEXMSRW#SV#         SVHIVW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#45#
                                                   OR ORDERS                                                                                                        12
        6148#-0#IDENTIFICATION
        3.15       MHIRXMJMGEXMSR#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#45#  12
        6149    0  M
        3.16 - INCOME TAXES
              #   #  RGSQI#  X E\IW #
                                    1 1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#45#
                                                                                                                                                                    12
        614;#-0#INDEPENDENT
        3.17       MRHITIRHIRX#CONTRACTOR
                                    GSRXVEGXSV#STATUS   WXEXYW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#45#12
        614<#-0#INSURANCE
        3.18       MRWYVERGI#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#46# 13
        614=#-0#INTERNATIONAL
        3.19       MRXIVREXMSREP#MARKETING
                                       QEVOIXMRK#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#46#    13
        6153#-0#INVENTORY
        3.20       MRZIRXSV]#LOADING
                                 PSEHMRK#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#46#  13
        6154#-0#ADHERENCE
        3.21       EHLIVIRGI#XS#      PE[W#ERH#
                                 TO LAWS             SVHMRERGIW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#47#
                                               AND ORDINANCES                                                                                                       14
        6155#-0#MINORS
        3.22       QMRSVW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#47# 14
        6156#-0#ONE
        3.23       SRI#ITMX#WORKS!
                            [SVOW$#BUSINESS
                                       FYWMRIWW#PER  TIV#DISTRIBUTOR
                                                           HMWXVMFYXSV#ERH#         TIV#HOUSEHOLD
                                                                              AND PER     LSYWILSPH#11111111111111111111111111111111111111111111111111111111#47#    14
        6157#-0#ACTIONS
        3.24       EGXMSRW#SJ#   LSYWILSPH#MEMBERS
                              OF HOUSEHOLD          QIQFIVW#SV#   OR E AFFILIATED     MRHMZMHYEPW#111111111111111111111111111111111111111111111111111111111111#47#
                                                                         JJMPMEXIH#INDIVIDUALS                                                                      14
        6158#-0#REQUESTS
        3.25       VIUYIWXW#JSV#    VIGSVHW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#47#
                               FOR RECORDS                                                                                                                          14
        6159#-0#ROLL-UP
        3.26       VSPP0YT#SJ#   QEVOIXMRK#ORGANIZATION
                              OF MARKETING         SVKERM^EXMSR#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#47#     14
        615;#-0#SALE,
        3.27       WEPI/#TRANSFER
                          XVERWJIV#SV#       EWWMKRQIRX#SJ#ER#
                                       OR ASSIGNMENT           OF AN IT MX#WORKS!
                                                                           [SVOW$#F      YWMRIWW#111111111111111111111111111111111111111111111111111111111111111#47#
                                                                                       BUSINESS                                                                     14
        615<#-0#SEPARATION
        3.28       WITEVEXMSR#SJ#ER#
                                  OF AN IT  MX#WORKS!
                                               [SVOW$#F      YWMRIWW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#48#
                                                           BUSINESS                                                                                                 15
        615=#-0#SPONSORING
        3.29       WTSRWSVMRK#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#49#   16
        6163#-0#SUCCESSION
        3.30       WYGGIWWMSR#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#49#  16
        6164#-0#TRANSFER
        3.31       XVERWJIV#UPON
                               YTSR#DEATH
                                        HIEXL#SJ#E#      HMWXVMFYXSV#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#49#
                                                   OF A DISTRIBUTOR                                                                                                 16
        6165#-0#TRANSFER
        3.32       XVERWJIV#UPON
                               YTSR#INCAPACITATION
                                        MRGETEGMXEXMSR#SJ#E#          HMWXVMFYXSV#111111111111111111111111111111111111111111111111111111111111111111111111111#49#
                                                                OF A DISTRIBUTOR                                                                                    16
        6166#-0#TELEMARKETING
        3.33       XIPIQEVOIXMRK#TECHNIQUES
                                       XIGLRMUYIW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#49#    16
        6167#-0#BACK
        3.34       FEGO#OFFICE
                          SJJMGI#ACCESS
                                   EGGIWW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4;# 17
     WIGXMSR#4
     SECTION 7#-0#RESPONSIBILITIES
                  VIWTSRWMFMPMXMIW#OF
                                   SJ#DISTRIBUTORS
                                      HMWXVMFYXSVW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111#4;#
                                                                                                                                       17
        714#0#CHANGE
        4.1-   GLERKI#SJ#
                       OF G
                          CONTACT  MRJSVQEXMSR#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4;#
                            SRXEGX#INFORMATION                                                                                                            17
        715#-0#CONTINUING
        4.2    GSRXMRYMRK#DEVELOPMENT
                            HIZIPSTQIRX#OBLIGATIONS
                                            SFPMKEXMSRW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4;#    17
        71514#-0#ONGOING
        4.2.1    SRKSMRK#TRAINING
                           XVEMRMRK#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4;#
                                                                                                                                                          17
        71515#-0#INCREASED
        4.2.2    MRGVIEWIH#TRAINING
                            XVEMRMRK#RESPONSIBILITIES
                                      VIWTSRWMFMPMXMIW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4<#   18
        71516#-0#ONGOING
        4.2.3    SRKSMRK#SALES
                           WEPIW#RESPONSIBILITIES
                                 VIWTSRWMFMPMXMIW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4<#  18
        71517#-0#RESIDUAL
        4.2.4    VIWMHYEP#INCOME
                          MRGSQI#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4<#
                                                                                                                                                          18
        716#-0#R
        4.3      SR0HMWTEVEKIQIRX#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4<#
               NON-DISPARAGEMENT                                                                                                                          18
        717#-0#PROVIDING
        4.4    TVSZMHMRK#DOCUMENTATION
                          HSGYQIRXEXMSR#XS#       ETTPMGERXW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4<#
                                              TO APPLICANTS                                                                                               18
        718#-0#GENERAL
        4.5    KIRIVEP#CONDUCT
                        GSRHYGX#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4<#
                                                                                                                                                          18
        719#-0#REPORTING
        4.6    VITSVXMRK#POLICY
                          TSPMG]#VIOLATIONS
                                 ZMSPEXMSRW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4<# 18
        71;#-0#VENDOR
        4.7    ZIRHSV#CONFIDENTIALITY/COMMUNICATIONS
                       GSRJMHIRXMEPMX]2GSQQYRMGEXMSRW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4=#            19

     WIGXMSR#5
     SECTION 8#-0#SALES
                  WEPIW#REQUIREMENTS
                        VIUYMVIQIRXW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4=#
                                                                                                                                              19


                                                                                    mm#
                                                                                    ii
Case 8:20-cv-01743-KKM-TGW                                  Document 1-2                      Filed 07/28/20                   Page 6 of 61 PageID 40


         814#0#PRODUCT
         5.1-    TVSHYGX#SALES
                          WEPIW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4=#
                                                                                                                                                                19
         81414#-0#SPECIAL
         5.1.1     WTIGMEP#STATE
                           WXEXI#RULES
                                  VYPIW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4=# 19
         815  0 R    X         V
         5.2 - No TERRITORY RESTRICTIONS
            #  #  S#  IVVMXSV]#  IWXVMGXMSRW      #
                                                  1 11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4=#
                                                                                                                                                                19
         816#-0#SALES
         5.3     WEPIW#RECEIPTS
                       VIGIMTXW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#4=#
                                                                                                                                                                19
         817#-0#PRODUCT
         5.4     TVSHYGX#REPACKAGING,
                          VITEGOEKMRK/#REBRANDING
                                             VIFVERHMRK#ERH#    AND W  SAMPLING      TVSLMFMXIH1111111111111111111111111111111111111111111111111111111111#4=#
                                                                        EQTPMRK#PROHIBITED                                                                      19
         818#-0#PRODUCT
         5.5     TVSHYGX#SOURCE
                          WSYVGI#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#53# 20

     WIGXMSR#6
     SECTION 9#-0#BONUSES
                  FSRYWIW#AND
                          ERH#COMMISSIONS
                              GSQQMWWMSRW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#53#
                                                                                                                                       20

         914#0#F
         6.1-   BONUS        GSQQMWWMSR#QUALIFICATIONS
                       AND COMMISSION
                 SRYW#ERH#                     UYEPMJMGEXMSRW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#53#     20
         91414#-0#DEADLINES
         6.1.1    HIEHPMRIW#JSV#
                              FOR U    YEPMJMGEXMSRW11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#53#
                                    QUALIFICATIONS                                                                                                              20
         91415#-0#COMMISSION
         6.1.2    GSQQMWWMSR#PAYMENTS
                                  TE]QIRXW111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#53#   20
         915#-0#ADJUSTMENT
         6.2    EHNYWXQIRX#XS#     FSRYWIW#ERH#
                              TO BONUSES              GSQQMWWMSRW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111#53#
                                                AND COMMISSIONS                                                                                                 20
         91514#-0#ADJUSTMENTS
         6.2.1    EHNYWXQIRXW#JSV#       VIXYVRIH#PRODUCTS
                                   FOR RETURNED         TVSHYGXW#ERH#        GERGIPPIH#SERVICES
                                                                      AND CANCELLED         WIVZMGIW#111111111111111111111111111111111111111111111111111111#53# 20
         91515#-0#OTHER
         6.2.2    SXLIV#DEDUCTIONS
                         HIHYGXMSRW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#54#   21
         916#-0#REPORTS
         6.3    VITSVXW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#54#
                                                                                                                                                                21
         917#-0#LOYAL
         6.4    PS]EP#G
                      CUSTOMER
                        YWXSQIV#RULESVYPIW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#54#
                                                                                                                                                                21

     WIGXMSR#7
     SECTION ;#-0#PRODUCT
                  TVSHYGX#GUARANTEES,
                          KYEVERXIIW/#RETURNS
                                      VIXYVRW#AND
                                              ERH#INVENTORY
                                                  MRZIRXSV]#REPURCHASE
                                                            VITYVGLEWI#1111111111111111111111111111111111111#55#
                                                                                                             22

         ;14#0#PRODUCT
         7.1-   TVSHYGX#GUARANTEE
                        KYEVERXII#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#55#
                                                                                                                                                         22
         ;15#-0#RETURNS
         7.2    VIXYVRW#F]#VIXEMP#CUSTOMERS
                        BY RETAIL GYWXSQIVW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#55# 22
         ;16#-0#RETURN
         7.3    VIXYVR#SJ#MRZIRXSV]#ERH#
                       OF INVENTORY        WEPIW#AIDS
                                     AND SALES     EMHW#F]#   HMWXVMFYXSVW#UPON
                                                          BY DISTRIBUTORS         YTSR#CANCELLATION
                                                                                           GERGIPPEXMSR#11111111111111111111111111111111111111111#55#    22
         ;1614#-0#MONTANA
         7.3.1    QSRXERE#RESIDENTS
                            VIWMHIRXW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#56#
                                                                                                                                                         23
         ;17#-0#PROCEDURES
         7.4    TVSGIHYVIW#JSV# EPP#RETURNS
                            FOR ALL VIXYVRW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#56#23

     WIGXMSR#8
     SECTION <#-0#DISPUTE
                  HMWTYXI#RESOLUTION
                          VIWSPYXMSR#AND
                                     ERH#DISCIPLINARY
                                         HMWGMTPMREV]#PROCEEDINGS
                                                      TVSGIIHMRKW#1111111111111111111111111111111111111111111111111111#56#
                                                                                                                       23

         <14#0#DISCIPLINARY
         8.1-   HMWGMTPMREV]#SANCTIONS
                               WERGXMSRW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#56#  23
         <15#-0#GRIEVANCES
         8.2    KVMIZERGIW#ERH#     GSQTPEMRXW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#56#
                             AND COMPLAINTS                                                                                                                     23
         <16#-0#Q
         8.3       IHMEXMSR#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#57#
                MEDIATION                                                                                                                                       24
         <17#-0#ARBITRATION
         8.4    EVFMXVEXMSR#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#57#
                                                                                                                                                                24
         <18#-0#DAMAGE
         8.5    HEQEKI#LIMITATION
                          PMQMXEXMSR#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#58# 25
         <19#-0#INDEMNIFICATION
         8.6    MRHIQRMJMGEXMSR1#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#58# 25
         <1;#-0#LIQUIDATED
         8.7    PMUYMHEXIH#DAMAGES
                             HEQEKIW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#58#   25
         <1<#-0#CLASS
         8.8    GPEWW#ACTION
                       EGXMSR#WAIVER
                                [EMZIV#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#58# 25
         <1=#-0#GOVERNING
         8.9    KSZIVRMRK#LAW,
                             PE[/#JURISDICTION
                                     NYVMWHMGXMSR#ERH#        ZIRYI#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#59#
                                                       AND VENUE                                                                                                26

     WIGXMSR#9
     SECTION =#-0#PAYMENT
                  TE]QIRX#AND
                          ERH#SHIPPING
                              WLMTTMRK#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#59#
                                                                                                                                            26
         =14#0#CHARGEBACKS
         9.1-   GLEVKIFEGOW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#59#26
         =15#-0#RESTRICTIONS
         9.2    VIWXVMGXMSRW#SR#   XLMVH#PARTY
                              ON THIRD      TEVX]#USEYWI#SJ#   GVIHMX#CARDS
                                                           OF CREDIT     GEVHW#ERH#AND G   LIGOMRK#E
                                                                                         CHECKING       ACCOUNT      EGGIWW1111111111111111111111111111111#59#
                                                                                                          GGSYRX#ACCESS                                        26
         =16#-0#SALES
         9.3    WEPIW#TAXES
                      XE\IW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#59#
                                                                                                                                                               26
         =1614#-0#CALIFORNIA
         9.3.1    GEPMJSVRME#SALES
                              WEPIW#TA)(
                                       XE\#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#59#
                                                                                                                                                               26
         =1615#-0#NEW
         9.3.2    RI[#MEXICO
                       QI\MGS#GROSS
                                 KVSWW#RECEIPTS
                                           VIGIMTXW#TAXES
                                                       XE\IW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#59#26

     WIGXMSR#10
     SECTION 43#-0#INACTIVITY,
                   MREGXMZMX]/#RECLASSIFICATION,
                               VIGPEWWMJMGEXMSR/#&
                                                 )#CANCELLATION
                                                   GERGIPPEXMSR#111111111111111111111111111111111111111111111111111111111111#5;#
                                                                                                                             27
         4314#-0#EFFECT
         10.1     IJJIGX#SJ#GERGIPPEXMSR#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#5;#
                         OF CANCELLATION                                                                                                                   27
         4315   0 M             G
         10.2 - INVOLUNTARY CANCELLATION
              #  # RZSPYRXEV]#   ERGIPPEXMSR    1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#5;#
                                                                                                                                                           27
         4316#-0#VOLUNTARY
         10.3     ZSPYRXEV]#CANCELLATION
                              GERGIPPEXMSR#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#5;#27
         4317#-0#NON-RENEWAL
         10.4     RSR0VIRI[EP#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#5;#
                                                                                                                                                           27
         4318#-0#REVOCATION
         10.5     VIZSGEXMSR#SJ#  GSRWIRX#XS#
                               OF CONSENT       GSRXVEGX#ELECTRONICALLY
                                            TO CONTRACT        IPIGXVSRMGEPP]#11111111111111111111111111111111111111111111111111111111111111111111#5;#     27

     WIGXMSR#11-
     SECTION 44#0#DEFINITIONS
                  HIJMRMXMSRW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#5;#
                                                                                                                                                     27

     WSGMEP#MEDIA
     SOCIAL QIHME#AND
                  ERH#INTERNET
                      MRXIVRIX#ADDENDUM
                               EHHIRHYQ#TO
                                        XS#POLICIES
                                           TSPMGMIW#AND
                                                    ERH#PROCEDURES
                                                        TVSGIHYVIW#111111111111111111111111111111111111111111#63#
                                                                                                              30
         E1#14#GENERAL
         A.    KIRIVEP#+(APPLYING TO BOTH ONLINE AND OFFLINE MARKETING AND PROMOTION),#1111111111111111111111111111111111111111#63#
                         ETTP]MRK#XS#FSXL#SRPMRI#ERH#SJJPMRI#QEVOIXMRK#ERH#TVSQSXMSR                                                                 30
         E1#5
         A.     MX#WORKS!
             2##IT [SVOW$#INDEPENDENT
                          MRHITIRHIRX#DISTRIBUTOR
                                       HMWXVMFYXSV#LOGO
                                                      PSKS#i2#IDENTITY
                                                                MHIRXMX]#11111111111111111111111111111111111111111111111111111111111111111111111#63# 30
         E1#6
         A.    XVEHIQEVOW#ERH#
             3#TRADEMARKS       GST]VMKLXW1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#63#
                            AND COPYRIGHTS                                                                                                           30



                                                                                  mmm#
                                                                                  III
Case 8:20-cv-01743-KKM-TGW                                    Document 1-2                       Filed 07/28/20                    Page 7 of 61 PageID 41


           E1#4
           A. 7#SOCIAL
                 WSGMEP#MEDIA
                            QIHME#ERH#
                                    AND SONLINE      EPMEWIW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#63#
                                             RPMRI#ALIASES                                                                                                           30
           E1#8
           A.    YWI#SJ#
               5#USE        XLMVH#PARTY
                        OF THIRD   TEVX]#INTELLECTUAL
                                            MRXIPPIGXYEP#PROPERTY
                                                               TVSTIVX]#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111#64#   31
           E1 9    E               X
           A. 6 ADVERTISING TEMPLATES AND APPROVAL
             #  ##    HZIVXMWMRK#    IQTPEXIW#ERH#       E TTVSZEP     #
                                                                       1 1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#64#
                                                                                                                                                                     31
           E1#7
           A. ;#MEDIA
                 QIHME#ERH#      QIHME#INQUIRIES
                            AND MEDIA    MRUYMVMIW111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#64#   31
           E1#<
           A.    MRHITIRHIRX#DISTRIBUTOR
              8#INDEPENDENT        HMWXVMFYXSV#RELEASE
                                                     VIPIEWI#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#64# 31
           E1#9
           A. =#IT
                 MX#WORKS!
                      [SVOW$#REPLICATED
                                VITPMGEXIH#WEBSITES
                                               [IFWMXIW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#64#   31
           E143##EXTERNAL
     ######A.10    I\XIVREP#WEBSITES
                                [IFWMXIW11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#65#  32
           E1#44#BLOGGING
           A.11     FPSKKMRK#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#65# 32
           E1#12
           A. 45##No  RS#IE-COMMERCE
                           0GSQQIVGI#SV# OR W   XSGO0ERH0WIPP#RETAILING
                                               STOCK-AND-SELL         VIXEMPMRK#1111111111111111111111111111111111111111111111111111111111111111111111111111111#66#  33
           E1#13
           A. 46#IT  MX#WORKS!
                        [SVOW$#MARKETING
                                  QEVOIXMRK#HOTLINKS
                                                  LSXPMROW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#66#  33
           E1#14
           A. 47#REMOVING
                    VIQSZMRK#IT   MX#WORKS!
                                     [SVOW$#REFERENCES
                                                VIJIVIRGIW#MR#XLI#IZIRX#SJ#             MRHITIRHIRX#DISTRIBUTOR
                                                                 IN THE EVENT OF INDEPENDENT               HMWXVMFYXSV#TERMINATION
                                                                                                                             XIVQMREXMSR#1111111111111111111#66#     33
           E1#15
           A. 48#WSOCIAL     QIHME#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#67#
                       SGMEP#MEDIA                                                                                                                                   34
           E1#16
           A. 49#DISTRIBUTORS
                     HMWXVMFYXSVW#ARE EVI#RESPONSIBLE
                                           VIWTSRWMFPI#JSV#        XLIMV#POSTINGS
                                                             FOR THEIR      TSWXMRKW#11111111111111111111111111111111111111111111111111111111111111111111111111#67#  34
           E1#17
           A. 4;#IDENTIFICATION
                     MHIRXMJMGEXMSR#EW#ER#
                                       AS AN ITMX#WORKS!
                                                  [SVOW$#INDEPENDENT
                                                              MRHITIRHIRX#DISTRIBUTOR
                                                                                   HMWXVMFYXSV#111111111111111111111111111111111111111111111111111111111111111#67#   34
           E1#18
           A. 4<#TRUTHFULNESS
                     XVYXLJYPRIWW#MR#    SRPMRI#POSTINGS
                                      IN ONLINE     TSWXMRKW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#67#   34
           E1#19
           A. 4=#RESPECTING
                    VIWTIGXMRK#PRIVACY
                                   TVMZEG]#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#67# 34
           E1#53
           A.        TVSJIWWMSREPMWQ#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#67#
               20#PROFESSIONALISM                                                                                                                                    34
           E1#21
           A. 54##PROHIBITED
                      TVSLMFMXIH#POSTINGS
                                   TSWXMRKW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#68#  35
           E1#55
           A.         VIWTSRHMRK#XS#
               22##RESPONDING        TO R
                                        NEGATIVE      TSWXW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#68#
                                           IKEXMZI#POSTS                                                                                                             35
           E1#56
           A.  23#S  ONLINE   GPEWWMJMIHW#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#68#
                       RPMRI#CLASSIFIEDS                                                                                                                             35
           E1#57
           A.         FE]#/2#ONLINE
               24#IEBAY      SRPMRI#AUCTIONS
                                      EYGXMSRW#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#68#   35
           E1 58     S        V
           A. 25 ONLINE RETAILING
             #     #   RPMRI#   IXEMPMRK #
                                         1 111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#68#
                                                                                                                                                                     35
           E1#59
           A.        TVSQSXMSRW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#68#
               26#PROMOTIONS                                                                                                                                         35
           E1#5;
           A.       FERRIV#ADVERTISING
               27#BANNER       EHZIVXMWMRK#11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#69#  36
           E1#5<
           A.  28#Y  UNSOLICITED    IQEMP#SPAMMING
                       RWSPMGMXIH#EMAIL      WTEQQMRK#2/ #MASS QEWW#EMAILING
                                                                        IQEMPMRK#111111111111111111111111111111111111111111111111111111111111111111111111111111#69#  36
           E1#5=
           A.  29#W  SPAM   PMROMRK#111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111#69#
                       TEQ#LINKING                                                                                                                                   36
           E1#63
           A.         WSGMEP#NETWORKING
               30##SOCIAL     RIX[SVOMRK#SITES WMXIW#(FACEBOOK/TWITTER/LINKEDIN)
                                                       +JEGIFSSO2X[MXXIV2PMROIHMR,#1111111111111111111111111111111111111111111111111111111111111111#69#              36
           E1#64
           A.        HMKMXEP#MEDIA
              31#DIGITAL      QIHME#SUBMISSION
                                       WYFQMWWMSR#(YOUTUBE,
                                                        +]SYXYFI/#M(TUNES,
                                                                         XYRIW/#PHOTOBUCKET
                                                                                    TLSXSFYGOIX#IXG     ETC.)1,#1111111111111111111111111111111111111111111111111111#6;#
                                                                                                                                                                     37
           E1#65
           A.  32#W  SPONSORED     PMROW#2/ #PAY-PER-CLICK
                       TSRWSVIH#LINKS        TE]0TIV0GPMGO#(PPC)  +TTG,#ADSEHW#1111111111111111111111111111111111111111111111111111111111111111111111111111111111#6;#37
     #
     #




                                                                                    mz
                                                                                    iv
Case 8:20-cv-01743-KKM-TGW                  Document 1-2            Filed 07/28/20         Page 8 of 61 PageID 42

                                                    It Works
                                          908 Riverside Dr. • Palmetto. FL 34221


  SECTION 1 - INTRODUCTION                                           unfamiliar with many of these standards of practice, it
                                                                     is very important that you read and abide by the
  1.1 - Policies and Compensation Plan Incorporated                  Agreement. Please review the information in this
  into Distributor Agreement                                         manual carefully. It explains and governs the
       These Policies and Procedures, in their present               relationship between you, as an independent
  form and as amended at the sole discretion of It Works             contractor, and the Company. If you have any
  Marketing, Inc. (hereafter 'It Works!' or the                      questions regarding any policy or rule, do not hesitate
  'Company'), are incorporated into, and form an                     to seek an answer from your Enroller or from It
  integral part of, the It Works!® Distributor Agreement.            Works!.
  Throughout these Policies, when the term
  'Agreement' is used, it collectively refers to the It              1.3 - Changes to the Agreement
  Works! Independent Distributor Application and                          It Works! reserves the right to amend the
  Agreement, these Policies and Procedures, the It                   Agreement and its prices in its sole and absolute
  Works! Compensation Plan, and the It Works!                        discretion. By signing the Distributor Agreement, a
  Business Entity Registration Form (if applicable).                 Distributor agrees to abide by all amendments or
  These documents are incorporated by reference into                 modifications that It Works! elects to make.
  the It Works! Distributor Agreement (all in their                  Amendments shall be effective 30 days after
  current form and as amended by It Works!). It is the               publication of notice to all Distributors that the
  responsibility of each Distributor to read, understand,            Agreement has been modified. Notification of
  adhere to, and ensure that he or she is aware of and               amendments shall be published in official It Works!
  operating under the most current version of these                  materials. The Company shall provide or make
  Policies and Procedures. When sponsoring or enrolling              available to all Distributors a complete copy of the
  a new Distributor, the sponsoring Distributor should               amended provisions by one or more of the following
  confirm that the applicant has online access to and has            methods: (1) posting on the Company's official
  reviewed the most current version of these Policies                website; (2) electronic mail (e-mail); (3) inclusion in
  and Procedures and the It Works! Compensation Plan                 Company periodicals; (4) via updates in eSuite; or (5)
  prior to his or her execution of the Distributor                   special mailings. The continuation of a Distributor's It
  Agreement.                                                         Works! business or a Distributor's acceptance of
                                                                     bonuses or commissions constitutes acceptance of
  1.2 - Purpose of Policies                                          any and all amendments.
         It Works! is a direct sales company that markets
  its products and services through Independent                      1.4 - Delays
  Distributors (hereafter 'Distributor' or 'Distributors').               It Works! shall not be responsible for delays or
  It is important to understand that your success and the            failures in performance of its obligations when
  success of your fellow Distributors depends on the                 performance is made commercially impracticable due
  integrity of the men and women who market our                      to circumstances beyond its reasonable control. This
  products and services. To clearly define the                       includes, without limitation, strikes, labor difficulties,
  relationship that exists between Distributors and It               riot, war, fire, death, curtailment of a party's source of
  Works! and to explicitly set a standard for acceptable             supply, or government decrees or orders.
  business conduct, It Works! has established the
  Agreement.                                                         1.5 - Policies and Provisions Severable
                                                                          If any provision of the Agreement, in its current
      It Works! Distributors are required to comply with             form or as may be amended, is found to be invalid or
  all of the Terms and Conditions set forth in the                   unenforceable for any reason, only the invalid
  Agreement which It Works! may amend at its sole                    portion(s) of the provision shall be severed and the
  discretion from time to time, as well as all federal,              remaining terms and provisions shall remain in full
  state, and local laws governing their It Works!                    force and effect. The severed provision, or portion
  business and their conduct. Because you may be                     thereof, shall be reformed to reflect the purpose of


                                                              1
Case 8:20-cv-01743-KKM-TGW                  Document 1-2            Filed 07/28/20        Page 9 of 61 PageID 43
                                                       It Works
                                             908 Riverside Dr. - Palmetto. FL 34221

  the provision as closely as possible.                                       United States, the business must be
                                                                              registered with the IRS with an EIN and must
  1.6 - Waiver                                                                not be a sole proprietorship. Any business
        No party gives up its right to insist on compliance                   names that are not registered with the IRS or
  with the Agreement and with the applicable laws                             that are sole proprietorships may be used on
  governing the conduct of a business. No failure of a                        the replicated website but may not be
  party to exercise any right or power under the                              entered on the account as an entity name.
  Agreement or to insist upon strict compliance by the
  other party. No custom or practice of the parties at              2.2 - No Product Purchase Required
  variance with the terms of the Agreement shall                         No person is required to purchase It Works!
  constitute a waiver of a party's right to demand exact            products, services or sales aids, or to pay any charge
  compliance with the Agreement. A waiver can be                    or fee to become a Distributor other than purchase of
  effectuated only in writing by an authorized                      a Basic Kit. In order to familiarize new Distributors
  representative of the party against whom the waiver               with It Works! products, services, sales techniques,
  is sought to be enforced. A party's waiver of any                 sales aids, and other matters, the Company
  particular breach shall not affect or impair its rights           recommends that they purchase a Business Builder
  with respect to any subsequent breach, nor shall it               Kit. It Works! will repurchase Resalable kits from any
  affect in any way the rights or obligations of any other          Distributor who terminates his or her Distributor
  Distributor.                                                      Agreement pursuant to the terms of Section 7.3.

  The existence of any claim or cause of action against a           2.3 - Distributor Benefits
  party shall not constitute a defense to the other                      Once a Distributor Application and Agreement has
  party's enforcement of any term or provision of the               been accepted by It Works!, the benefits of the
  Agreement.                                                        Compensation Plan and the Distributor Agreement are
                                                                    available to the new Distributor. These benefits
  SECTION 2 - BECOMING A DISTRIBUTOR                                include the right to:

  2.1 - Requirements to Become a Distributor                             a) Sell and solicit orders for It Works! products
       To become an It Works! Distributor, each                             and services;
  applicant must:                                                        b) Participate in the It Works! Compensation
                                                                            Plan (receive bonuses and commissions, if
      a) Be at least 18 years of age;                                       eligible);
      b) Reside in any country or territory that It                      c) Sponsor other individuals as Customers or
         Works! has officially announced is open for                        Distributors into the It Works! business and
         business;                                                          thereby build a Marketing Organization and
      c) Have a valid Social Security or Federal Tax ID                     progress through the It Works! Compensation
         number or submit a properly completed IRS                          Plan;
         form W-9 for US Distributors;                                   d) Receive periodic It Works! literature and
      d) Purchase an It Works! Sales Kit (optional in                       other It Works! communications and have
         North Dakota); and                                                 access to It Works! online sales and business
      e) Submit a properly completed Distributor                            tools;
         Application and Agreement to It Works!,                         e) Participate in It Works!-sponsored support,
         either in hard copy or online format.                              service,     training,    motivational    and
      f) When enrolling, the First and Last name fields                     recognition functions upon payment of
         must contain the first and last name of the                        appropriate charges, if applicable; and
         Distributor who is enrolling. If enrolling a                    f) Participate in promotional and incentive
         business, the first and last name of the person                    contests and programs sponsored by It
         responsible for the business must be                               Works! for its Distributors.
         entered. It is not acceptable to enter the
         business name in the first and last name                   2.4 - Term and Renewal of Your It Works! Business
         fields. If entering a business name in the                      The term of the Distributor Agreement is one year
                                                               2
Case 8:20-cv-01743-KKM-TGW                 Document 1-2            Filed 07/28/20       Page 10 of 61 PageID 44

                                                       It Works
                                             908 Riverside Dr. • Palmetto. FL 34221

  from the date of its acceptance by It Works! (subject             3.2 - Advertising
  to prior termination or reclassification pursuant to                 3.2.1 - General
  Section 10). Distributors must renew their Distributor                 All Distributors shall safeguard and promote the
  Agreement each year by paying an annual renewal fee               good reputation of It Works! and its products. The
  of $35 on or before the anniversary date of their                 marketing and promotion of It Works!, the It Works!
  Distributor Agreement. If the renewal fee is not paid             opportunity, the Compensation Plan, and It Works!
  within 30 days after the expiration of the current term           products and services shall be consistent with the
  of the Distributor Agreement, the Distributor                     public interest and must avoid all discourteous,
  Agreement will be canceled.                                       deceptive, misleading, unethical or immoral conduct
                                                                    or practices.
  2.5 - Company Transfer of Distributors
        It Works!, including but not limited to any of its               To promote both the products and services, and
  affiliates and/or subsidiaries, may transfer or assign            the tremendous opportunity It Works! offers,
  the Distributor Agreement in its sole discretion. In the          Distributors must use the sales aids and support
  case that the Distributor does not accept the transfer            materials produced or approved by It Works!. The
  or assignment, it may provide written notice that it              rationale behind this requirement is simple. If It
  wishes to terminate the Agreement. In the event of                Works! Distributors were allowed to develop their
  such notice being provided, the termination will                  own sales aids and promotional materials,
  become effective immediately. In the event It Works!              notwithstanding their integrity and good intentions,
  chooses not to transfer a Distributor Agreement                   there is a high likelihood that they would
  termination will be effective immediately. If a                   unintentionally violate any number of statutes or
  Distributor does not issue a written notice of                    regulations affecting an It Works! business. These
  termination to It Works! the Distributor shall be                 violations, although they may be relatively few in
  deemed to consent to the transfer or assignment.                  number, would jeopardize the It Works! opportunity
                                                                    for all Distributors.
  SECTION 3 - OPERATING AN IT WORKS! BUSINESS
                                                                        3.2.2 - Marketing and Lead Generation Systems
  3.1 - Adherence to the It Works! Compensation Plan                     a) All marketing and lead-generation systems
       Distributors must adhere to the terms of the It              must first be submitted to It Works! Compliance and
  Works! Compensation Plan as set forth in official It              then reviewed and receive written approval from the
  Works! literature. Distributors shall not offer the It            Company before leaving the test server environment
  Works! opportunity through, or in combination with,               or in any way used by a Distributor.
  any marketing system, program, or method of                            b) The system must only be promoted to the
  marketing other than that specifically set forth in               Distributor's personal enrollees, who then can
  official It Works! literature. Distributors shall not             promote the system to their personal enrollees.
  require or encourage other current or prospective                      c) At the Double Diamond level and above, the
  Customers or Distributors to participate in It Works! in          Distributor must obtain written permission of their
  any manner that varies from the program as set forth              downline at the Diamond level and above that it is
  in official It Works! literature. Distributors shall not          permissible to market to their particular downlines.
  require or encourage other current or prospective                      d) After initial approval, the Distributor must
  Customers or Distributors to execute any agreement                obtain approval for any modifications or changes.
  or contract other than official It Works! agreements                   e) The system shall only utilize standard Company
  and contracts in order to become an It Works!                     image packages.
  Distributor. Similarly, Distributors shall not require or              f) No affiliate programs are allowed, e.g. earn
  encourage other current or prospective Customers or               $5 for every person you sign up or sign up 2 and your
  Distributors to make any purchase from, or payment                system is free.
  to, any individual or other entity to participate in the               g) The system shall make no product or income
  It Works! Compensation Plan other than those                      claims.
  purchases or payments identified as recommended or
  required in official It Works! literature.                            Accordingly, Distributors must submit all
                                                                    proposed personal development system, coaching
                                                               3
Case 8:20-cv-01743-KKM-TGW                Document 1-2           Filed 07/28/20        Page 11 of 61 PageID 45
                                                     It Works
                                           908 Riverside Dr. - Palmetto. FL 34221

  system, sales aids, lead generation systems,                    Team. A Distributor may not use 'blind' ads on the
  promotional materials, advertisements, and other                Internet that make product or income claims which
  literature to the Company for approval to                       are ultimately associated with It Works! products, the
  compliance@itworks.com. Unless the Distributor                  It Works! opportunity, or the It Works! Compensation
  receives specific written approval to use such tools,           Plan. See Social Media and Internet Addendum to
  the request shall be deemed denied. Independently               Policies and Procedures, infra for additional
  produced websites are not permitted unless approved             information.
  by the Company.
                                                                       3.2.4 - Blogs, Chat Rooms, Social Networks,
      It Works! shall not permit Distributors to sell any                      Online Auctions, and other Online
  systems or sales aids to other It Works! Distributors.                       Forums
  Therefore, Distributors who receive authorization                    Except as expressly provided for in these Policies
  from It Works! to produce their own sales aids may              and Procedures, Distributors shall not use online
  not sell such material to any other It Works!                   blogs, chat rooms, social networks, online auction
  Distributor. Distributors may make approved material            sites, or any other online forum to sell It Works!'
  available to other Distributors free of charge if they          products or services. See Social Media and Internet
  wish, but may not charge other It Works! Distributors           Addendum to Policies and Procedures, for Company
  for the material unless express written approval is             Policies relating to Social Media usage.
  received from the Company. Distributors are
  prohibited from reproducing or copying written                       3.2.5 - Domain Names and Email Addresses
  documents or marketing materials, films or sound                     Distributors may not use or attempt to register
  recordings identical or deceptively similar to any              any of It Works!' trade names, trademarks, service
  materials produced by the Company. Any Distributor              names, service marks, product names, the Company's
  receiving written authorization from It Works! to               name, or any derivative thereof, for any Internet
  produce sales tools grants It Works! an irrevocable             domain or replicated website name. Nor may
  and royalty-free license to use such tools, and to make         Distributors incorporate or attempt to incorporate any
  such tools available to other Distributors.                     of the Company's trade names, trademarks, service
                                                                  names, service marks, product names, the Company's
      It Works! further reserves the right to rescind             name, or any derivative thereof, into any electronic
  approval for any personal development or coaching               mail address. If any Distributor owns or otherwise
  systems, sales tools, promotional materials,                    controls domain names or email addresses related to
  advertisements, or other literature, and Distributors           the Company business or its products and services,
  waive all claims for damages or remuneration arising            Company reserves the right to require the Distributor
  from or relating to such rescission.                            to transfer ownership and control to Company at the
                                                                  cost Distributor paid for such domain names or email
      3.2.3 - Distributor Websites                                addresses.
      If a Distributor desires to utilize an Internet web
  page to promote his or her business, he or she may do                3.2.6 - Trademarks and Copyrights
  so through the Company's replicated website                         It Works! will not allow the use of its trade names,
  program. This program permits Distributors to                   trademarks, designs, or symbols by any person,
  advertise on the Internet and can be personalized with          including It Works! Distributors, without its prior
  the Distributor's message and the Distributor's                 written permission. Distributors may not produce for
  contact information. These websites seamlessly link             sale or distribution any recorded Company events and
  directly to the official It Works! website giving the           speeches without written permission from It Works!
  Distributor a professional and Company-approved                 nor may Distributors reproduce for sale or for
  presence on the Internet. No Distributor may                    personal use any recording of Company-produced
  independently design a website that uses the names,             audio or videotape presentations.
  logos, or product descriptions of It Works! or
  otherwise promotes (directly or indirectly) It Works!               3.2.7 - Media and Media Inquiries
  products or the It Works! opportunity, unless                      It Works! Independent Distributors are not
  previously approved by the It Works! Compliance                 authorized to speak to any media source, including but
                                                             4
Case 8:20-cv-01743-KKM-TGW                Document 1-2           Filed 07/28/20        Page 12 of 61 PageID 46

                                                     It Works
                                           908 Riverside Dr. • Palmetto. FL 34221

  not limited to radio, television, reporters for                           a recipient of an email, the Distributor must
  newspapers, magazines, advertisement outlets, or                          forward a copy of the opt-out request to the
  bloggers. Distributors must not attempt to respond to                     Company.
  media inquiries regarding It Works!, its products or
  services, or their independent It Works! business. All               It Works! may periodically send commercial
  inquiries by any type of media must be immediately              emails on behalf of Distributors. By entering into the
  referred to the It Works!' Public Relations Department          Distributor Agreement, Distributor agrees that the
  at PR@itworks.com. It Works!' PR Department will                Company may send such emails and that the
  review the media referral and decide whether or not             Distributor's physical and email addresses will be
  we will corporately proceed. This policy is designed to         included in such emails as outlined above. Distributors
  assure that accurate and consistent information and a           shall honor opt-out requests generated as a result of
  proper public image are provided to the public.                 such emails sent by the Company.

     Distributors may not utilize media outlets for                    3.2.9 - Unsolicited Faxes or Automated Dialing
  advertising, distribution or promotion of It Works!                        Systems
  products or opportunity without the express written                  Except as provided in this section, Distributors
  consent of It Works! PR or Compliance Departments.              may not use or transmit unsolicited faxes or use an
                                                                  automatic telephone dialing system relative to the
      It Works! does not allow use of celebrity pictures          operation of their It Works! businesses. The term
  or endorsements indicating use of It Works! products            'automatic telephone dialing system' means
  or services. It Works! also does not allow Distributors         equipment which has the capacity to: (a) store or
  to make claims on images that are not their own or for          produce telephone numbers to be called, using a
  which they do not have permission.                              random or sequential number generator; and (b) to
                                                                  dial such numbers. The term 'unsolicited faxes' means
       3.2.8 - Unsolicited Email                                  the transmission via telephone facsimile of any
       It Works! does not permit Distributors to send             material or information advertising or promoting It
  unsolicited commercial emails unless such emails                Works!, its products, the Compensation Plan or any
  strictly comply with applicable laws and regulations            other aspect of the Company which is transmitted to
  including, without limitation, the federal CAN-SPAM             any person, except that these terms do not include a
  Act. Any email sent by a Distributor that promotes It           fax: (a) to any person with that person's prior express
  Works!, the It Works! opportunity, or It Works!                 written invitation or permission; or (b) to any person
  products and services must comply with the following:           with whom the Distributor has an established business
                                                                  or personal relationship. The term 'established
      a) There must be a functioning return email                 business or personal relationship' means a prior or
         address to the sender.                                   existing relationship formed by a voluntary two-way
      b) There must be a notice in the email that                 communication between a Distributor and a person,
         advises the recipient that he or she may reply           on the basis of: (a) an inquiry, application, purchase or
         to the email, via the functioning return email           transaction by the person regarding products offered
         address, to request that future email                    by such Distributor; or (b) a personal or familial
         solicitations or correspondence not be sent to           relationship, which relationship has not been
         him or her (a functioning 'opt-out' notice).             previously terminated by either party.
      c) The email must include the Distributor's
         physical mailing address.                                    3.2.10 - Print Classified Ads
      d) The email must clearly and conspicuously                     Some Distributors use classified advertising in the
         disclose that the message is an advertisement            newspapers to find prospects. The following rules
         or solicitation.                                         apply:
      e) The use of deceptive subject lines and/or                    a) No advertisement may imply that a 'job' or
         false header information is prohibited.                          'position' is available.
      f) All opt-out requests, whether received by                    b) No specific income may be promised.
         email or regular mail, must be honored. If a
         Distributor receives an opt-out request from
                                                             5
Case 8:20-cv-01743-KKM-TGW                  Document 1-2              Filed 07/28/20        Page 13 of 61 PageID 47
                                                        It Works
                                              908 Riverside Dr.   Palmetto. FL 34221


      c) Advertisements must contain no misleading                     3.4 - Business Entities
         facts or distortions of the Company                                A corporation, limited liability company (LLC),
         opportunity or product line.                                  partnership or trust (collectively referred to in this
      d) You must state that the opportunity is for an                 section as a 'Business Entity') may apply to be an It
         "Independent Distributor for It Works                         Works! Distributor by submitting its Certificate of
         Marketing, Inc."                                              Incorporation, Certificate of Organization, Partnership
                                                                       Agreement or trust documents (these documents are
  3.3 - Bonus Buying Prohibited                                        collectively referred to as the 'Entity Documents') to It
        Bonus buying is strictly and absolutely                        Works!, along with a properly completed Distributor
  prohibited. 'Bonus buying' includes: (a) the enrollment              Application and Agreement. If a Distributor enrolls
  of individuals or entities without the knowledge of                  online, the Entity Documents must be submitted to It
  and/or execution of an Independent Distributor                       Works! within 30 days of the online enrollment. (If not
  Application and Agreement by such individuals or                     received within the 30-day period, the Distributor
  entities; (b) the fraudulent enrollment of an individual             Agreement shall automatically terminate.) Members
  or entity as a Distributor or Customer; (c) the                      of the entity are jointly and severally liable for any
  enrollment or attempted enrollment of non-existent                   indebtedness or other obligation to It Works!.
  individuals or entities as Distributors or Customers
  ('phantoms'); (d) purchasing excessive amounts of                         To prevent the circumvention of Section 3.27
  goods or services that cannot reasonably be used or                  (regarding transfers and assignments of an It Works!
  resold in a month; (e) attempt to cross sponsor or re-               business), if an additional partner, shareholder,
  enroll an existing customer or distributor; or (f) any               member, or other business entity affiliate is added to
  other mechanism or artifice to qualify for rank                      a business entity, the original applicant must remain
  advancement, incentives, prizes, commissions or                      as a party to the original Distributor Application and
  bonuses that is not driven by bona fide product or                   Agreement. If the original Distributor wants to
  service purchases by end user consumers.              A              terminate his or her relationship with the Company,
  Distributor is allowed a total of 5 order transfer                   he or she must transfer or assign his or her business in
  requests per month with a total bonus volume limit of                accordance with Section 3.27. If this process is not
  1,000 BV without violating this provision. The order                 followed, the business shall be canceled upon the
  can only be transferred to a distributor in the                      withdrawal of the original Distributor. All bonus and
  downline of the distributor requesting the order                     commission checks will be sent to the address of
  transfer. Orders may only be transferred in full and                 record of the original Distributor. Please note that the
  may only be transferred once. An order transfer is                   modifications permitted within the scope of this
  where a Distributor places an order under themselves                 paragraph do not include a change of sponsorship.
  and then requests that this order be moved under                     Changes of sponsorship are addressed in Section 3.5,
  another Distributor. Once a Distributor has reached                  below. There is a $35 fee for each change requested,
  the limit of 5 requests for the month, all other                     which must be included with the written request and
  requests will be denied. Orders may not be moved to                  the    completed      Distributor    Application    and
  or from a Loyal or Retail Customer. A Distributor may                Agreement. It Works! may, at its discretion, require
  not also be a Loyal Customer. Distributors are                       notarized documents before implementing any
  prohibited from placing orders directly on another                   changes to an It Works! business. Please allow thirty
  Distributor or Loyal Customer account using their own                (30) days after the receipt of the request by It Works!
  or a prepaid credit card to make payments or use                     for processing.
  another account to ship orders to themselves. All
  bonuses, product rewards, product credits, and                          3.4.1 - Changes to a Business Entity
  commissions earned belong to the account holder and                      An It Works! business may change its status under
  can only be redeemed by the account holder.                          the same Enroller from an individual to a partnership,
                                                                       LLC, corporation or trust, or from one type of entity to
  A Distributor found to be in violation of this policy will           another. There is a $35 fee for each change requested,
  be subject to the disciplinary sanctions as set forth in             which must be included with the written request and
  Section 8.1.                                                         the    completed      Distributor    Application    and
                                                                       Agreement. Such changes are effective once form is
                                                                  6
Case 8:20-cv-01743-KKM-TGW                Document 1-2            Filed 07/28/20        Page 14 of 61 PageID 48
                                                      It Works
                                            908 Riverside Dr. - Palmetto. FL 34221

  submitted, processed and approved. In addition,                         a start date prior to the enrollment date of the
  Distributors operating their It Works! businesses                       Loyal Customer or Distributor they are
  utilizing a business entity must notify It Works! of the                requesting to be moved under. Only the first
  addition or removal of any officers, directors,                         request for placement or enrollment correction
  shareholders, managers, members or business                             for a new Loyal Customer or Distributor will be
  associates of the business entity.                                      honored. We are unable to accept third party
                                                                          requests for these changes. Any disputes will
  3.5 - Change of Enroller or Placement                                   need to be verified by the enrollee being moved
       To protect the integrity of all It Works! Marketing                and will only be done with Company approval.
  Organizations and to safeguard the hard work of all                     Retail Customers cannot be moved.
  Distributors, requests for enroller or placement
  changes from one Distributor to another are rarely if                   If there is a change requested for any other
  ever permitted.                                                         purpose other than user error during sign up,
                                                                          then It Works! shall evaluate the situation on a
       Requests for change of enroller or placement                       case-by-case basis. The enrollee requesting the
  must be submitted in writing via ticket submission and                  change has the burden of proving that he or she
  must include the reason(s) for the change. Changes                      was placed beneath the wrong En roller.
  will only be considered in the following two
  circumstances:                                                        In cases wherein the appropriate Enroller change
                                                                   procedures have not been followed, and a Marketing
   a) In cases in which the new Distributor is enrolled            Organization has been developed in the second
      by someone other than the individual he or she               business developed by a Distributor, It Works!
      was led to believe would be his or her Enroller, a           reserves the sole and exclusive right to determine the
      Distributor may request that he or she be                    final disposition of the Marketing Organization.
      transferred to another organization with his or              Resolving conflicts over the proper placement of a
      her entire Marketing Organization intact. All                downline that has developed under an organization
      requests for transfer alleging fraudulent                    that has improperly switched Enrollers is often
      enrollment practices shall be evaluated on a                 extremely difficult. Therefore, DISTRIBUTORS WAIVE
      case-by-case basis. Requests for transfer under              ANY AND ALL CLAIMS AGAINST IT WORKS! THAT
      this policy will be evaluated on a case-by-case              RELATE TO OR ARISE FROM THE IT WORKS! DECISION
      basis and must be made within 24 hours from the              REGARDING THE DISPOSITION OF ANY MARKETING
      date of enrollment. The Distributor requesting               ORGANIZATION THAT DEVELOPS BELOW AN
      the change has the burden of proving that he or              ORGANIZATION OR DISTRIBUTOR THAT HAS
      she was placed beneath the wrong Distributor.                IMPROPERLY CHANGED LINES OF ENROLLMENT.

   b)   In the event of placement error during sign up,                3.5.1 - Cancellation and Reapplication
        placement changes for Distributors and Loyal                   A     Distributor    may     legitimately     change
        Customers must be requested through                        organizations, sponsorships, or leadership level
        Customer Service within 24 hours of                        Enrollers by voluntarily cancelling his or her It Works!
        enrollment. For security purposes, changes can             business and remaining inactive (i.e., no purchases of
        only be requested by the original Enroller or the          It Works! products for resale, no sales of It Works!
        Distributor/Loyal Customer being moved.                    products, no sponsoring, no attendance at any It
                                                                   Works! functions, and no participation in any other
        In the event of an enrollment error during sign            form of Distributor activity or operation of any other
        up, enrollment changes for Distributors or Loyal           It Works! business) for three (3) months. This three
        Customers must be requested by the new                     month prohibition applies to spouses, immediate
        enrollee through Customer Service within 24                family members and businesses. Following the three
        hours of enrollment.                                       month period of inactivity, the former Distributor may
                                                                   reapply under a new Enroller; however, the former
        Requests for placement or enrollment                       Distributor's Marketing Organization will remain in
        corrections cannot be made for those who have              the original line of sponsorship. It Works! will consider
                                                              7
Case 8:20-cv-01743-KKM-TGW                    Document 1-2            Filed 07/28/20       Page 15 of 61 PageID 49
                                                           It Works
                                                908 Riverside Dr. - Palmetto. FL 34221

  waiving the three month waiting period under                         In the event that you wish to create your own Before
  exceptional circumstances. Such requests for waiver                  and After photos they must either be your own
  must be submitted to It Works! in writing.                           personal images or you must have written permission
                                                                       to use the images from the person in the image
  3.6 - Unauthorized Claims and Actions                                utilizing the Consent Form located in eSuite.
       3.6.1 - Indemnification
       A Distributor is fully responsible for all of his or her        If you do not have personal written permission, you
  verbal and written statements made regarding It                      cannot post (or re-post) a picture on Facebook or
  Works! products, services, and the Compensation Plan                 other social media.
  which are not expressly contained in official It Works!
  materials. Distributors agree to indemnify It Works!                 All Before and After photos must meet company
  and It Works' directors, officers, employees, and                    branding standards and be approved by the
  agents, and hold them harmless from any and all                      Compliance Department before posting.
  liability including judgments, civil penalties, refunds,
  attorney fees, court costs, or lost business incurred by             Please reference the Before and After Photo
  It Works! as a result of the Distributor's unauthorized              Guidelines in eSuite for exact direction.
  representations or actions. This provision shall survive
  the termination of the Distributor Agreement.                            3.6.4 - Income Claims and the Income Disclosure
                                                                                Statement
       3.6.2 - Product Claims and Testimonials                             A Distributor is prohibited from making income
       No claims (which include personal testimonials) as              guarantees or false income statements. When
  to therapeutic, curative or beneficial properties of any             presenting or discussing the It Works! opportunity or
  products offered by It Works! may be made except                     Compensation Plan with a prospective Distributor, a
  those contained in official It Works! literature. In                 Distributor     must    use     Company      provided
  particular, no Distributor may make any claim that It                documentation. A Distributor shall not make their
  Works! products are useful in the cure, treatment,                   own income projections, income claims, or disclose his
  diagnosis, mitigation or prevention of any diseases.                 or her It Works! income (including checks, copies of
  Such statements can be perceived as medical or drug                  checks, bank statements, or tax records).
  claims. Not only do such claims violate It Works!
  policies, but they potentially violate federal and state                 When presenting an It Works! provided income
  laws and regulations, including the federal Food, Drug,              representation with a prospective Distributor, the
  and Cosmetic Act and Federal Trade Commission Act.                   Distributor must provide the prospect with a copy of
  Company products may only be advertised and used                     It Works! Income Disclosure Statement (the "IDS").
  according to the label specifications at the specified
  dosage. Unless the label specifically states that the                     The terms 'income representation' and/or
  product is suitable for children, Company products are               'earnings representation' (collectively 'income claim')
  to be used by adults only.                                           include: (1) statements that a specific amount of
                                                                       income has been or may be easily achieved, (2)
  Testimonials must receive written approval from It                   statements that, although not specifically stating a
  Works!' corporate Compliance Department before                       given income level has been or may be achieved, imply
  being posted or published in any forum. Send                         that such income is possible, (3) statements of earning
  submissions via support ticket in your eSuite in the                 ranges, (4) income testimonials, (5) lifestyle claims,
  Compliance Approvals category.                                       and (6) hypothetical claims. Examples of 'statements
                                                                       of non-average earnings' include, "Our number one
      3.6.3 - Before and After Photos                                  Distributor earned XXX dollars last year" or "Our
      It Works! recommends using corporate approved                    average (rank) makes XXX per month." An example of
  Before and After photographs located on the It Works!                a 'statement of earnings ranges' is "The monthly
  Corporate Facebook page and in eSuite. These Before                  income for (rank) is XXX on the low end to YYY on the
  and After photos are preapproved for use and have                    high end."
  the proper disclaimers attached.

                                                                  8
Case 8:20-cv-01743-KKM-TGW                 Document 1-2            Filed 07/28/20        Page 16 of 61 PageID 50
                                                       It Works
                                             908 Riverside Dr. - Palmetto. FL 34221

      A lifestyle income claim typically includes                   itself. No products may be openly displayed from a
  statements (or pictures) involving large homes, luxury            shelf for retail sale. Company products may not be
  cars, exotic vacations, or other items suggesting or              rebranded in any way, and all Company trademarks
  implying wealth. They also consist of references to the           must be displayed. No Company product may be
  achievement of one's dreams, having everything one                marketed as a generic product or service.
  always wanted, and are phrased in terms of
  'opportunity' or 'possibility' or 'chance.' Claims such                 3.7.1 - California Retail Sale
  as "My It Works! income exceeded my salary after six                    In California dietary supplements may not be
  months in the business," or "Our It Works! business               sold in any retail establishments. All customer orders
  has allowed my wife to come home and be a full-time               must be submitted through the Company website or
  mom" also fall within the category of 'lifestyle' claims.         eSuite.

      A hypothetical income claim exists when you                   3.8 - Trade Shows, Expositions and Other Sales
  attempt to explain the operation of the Compensation                    Forums
  Plan through the use of a hypothetical example.                        Distributors may display and/or sell It Works!
  Certain assumptions are made regarding the: (1)                   products at trade shows and professional expositions
  number of Distributors sponsored, (2) number of                   in the countries we are officially open for business.
  downline Distributors, (3) average product volume per             The Company policy is to authorize only one It Works!
  Distributor, and (4) total organizational volume.                 business per event. Company recommends registering
  Running      these    assumptions      through    the             under the name "It Works! Independent Distributor"
  Compensation Plan yields income figures which                     and inquiring if there are any other registrants using
  constitute income claims.                                         that name. It Works! further reserves the right to
                                                                    refuse authorization to participate at any function
      In any non-public meeting (e.g., a home meeting,              which it does not deem a suitable forum for the
  one-on-one, regardless of venue) with a prospective               promotion of its products, services, or the It Works!
  Distributor or Distributors in which the Compensation             opportunity. No Distributor may sell or promote the
  Plan is discussed or any type of It Works! provided               Company's products or business opportunity at swap
  income claim is made, you must provide the                        meets, garage sales, flea markets or farmers markets
  prospect(s) with a copy of the IDS.                               as these events are not conducive to the professional
                                                                    image that It Works! wishes to portray. When
      Copies of the IDS may be printed or downloaded                attending an event you must adhere to the following
  without charge through eSuite and is also viewable on             policies relative to participation in temporary sales
  the          corporate          website            at             forums:
  www.itworks.com/Legal/Income.
                                                                         a) Only one It Works! booth is allowed per show
  3.7 - Commercial Outlets                                                  or event. It is your responsibility to check with
       In general, Distributors may not sell It Works!                      the show manager or promoter to ensure
  products from a commercial outlet, nor may                                there are no other Distributors contracted
  Distributors display or sell It Works! products or                        before you contract for space.
  literature in any retail establishment. The exception to               b) Only current It Works! Independent
  this rule involves sales in service establishments                        Distributors are authorized to contract for
  where the nature of the business is to service                            booth space exhibiting It Works! products.
  customers and no competing products are sold by the                       The contract is between the Independent
  facility. These types of businesses include, but are not                  Distributor and the Event Sponsor. It Works!
  limited to, salons, doctor offices, and health clubs. The                 is not, and may not be made, a party to a
  sale of products within these facilities must be                          contract between you and an event organizer.
  conducted by a Distributor whereby the prospect is                     c) You must also write on the contract, or in a
  introduced to the products and opportunity just as if                     cover letter you attach to the contract, that It
  they met outside of the retail facility. Only Company-                    Works! has a one-booth-per-show policy and
  produced literature, banners and signage may be used                      that, in making the show or event manager
  and may be displayed on a shelf, counter, or wall by                      aware of our policy, you are asking in writing
                                                               9
Case 8:20-cv-01743-KKM-TGW                Document 1-2           Filed 07/28/20        Page 17 of 61 PageID 51
                                                     It Works
                                           908 Riverside Dr. - Palmetto. FL 34221

         that the show not allow other It Works!                  business ventures or marketing opportunities
         Independent Distributors to display or sell It           (collectively 'network marketing'). However, during
         Works! products.                                         the term of this Agreement, Distributors may not
      d) Company products and opportunity are the                 directly or indirectly Recruit other It Works!
         only products or opportunity that may be                 Distributors or Customers for any other network
         offered by Distributor at the trade show. Only           marketing business.
         Company-produced or approved marketing
         materials may be displayed or distributed.                    Following the cancellation of a Distributor's
                                                                  Agreement, and for a period of six (6) calendar months
      3.8.1 - Double-Bookings Dispute Resolution                  thereafter, with the exception of a Distributor who
      In the event of a double-booking, the                       was personally sponsored by the former Distributor, a
  Independent Distributor with a valid/signed contract            former Distributor may not Recruit any It Works!
  and proof of payment from the event company with                Distributor or Customer for another network
  the earliest date will be allowed to do the event if:           marketing business. Distributors and the Company
                                                                  recognize that because network marketing is
      a. The application has been filled out completely           conducted through networks of independent
         and accurately per It Works! policies; and               contractors dispersed across the entirety of North
      b. The second applicant was aware that there                America and internationally, and business is
         was an It Works! booth already contracted                commonly conducted via the internet and telephone,
         and paid, but the second applicant signed up             an effort to narrowly limit the geographic scope of this
         anyway.                                                  non-solicitation provision would render it wholly
                                                                  ineffective. Therefore, Distributors and It Works!
  Not all shows follow the same policies regarding                agree that this non-solicitation provision shall apply to
  multiple vendors from the same company at their                 all markets in which It Works! conducts business.
  events. Some event managers will knowingly double-
  book because their policies do not limit the number of               The term 'Recruit' means the actual or attempted
  vendors from any one company. In the event there is             sponsorship, solicitation, enrollment, encouragement,
  a double-booking, and both parties filled out                   or effort to influence in any other way, either directly,
  applications appropriately, made the event manager              indirectly, or through a third party, another It Works!
  aware of Company policy to only have one vendor per             Distributor or Loyal Customer to enroll or participate
  show, and were unaware of the other Consultant,                 in another multilevel marketing, network marketing or
  there are three (3) options:                                    direct sales opportunity. The conduct described in the
  1. Work with the other Distributor to come up with an           preceding sentence constitutes Recruiting even if the
  equitable agreement to do the show together in a                Distributor's actions are in response to an inquiry
  single booth or to operate a separate booth at the              made by another Distributor or Loyal Customer.
  same show.                                                      Announcement that a Distributor is joining a new
  2. Ask the event promoter to have the second                    network marketing opportunity on his or her
  contracted Distributor removed from the show.                   Facebook page or other social media site also
  (This will only work if you have followed the procedure         constitutes Recruiting as such announcements are
  to inform the manager of It Works! policy of only               veiled efforts to induce inquiries from others about
  allowing one booth per show in writing, AND if they             the new opportunity that the Distributor has joined.
  are willing to cooperate.)
  3. Request that the event manager refund your                      3.9.2 - Sale of Competing Goods or Services
  money. (This will also only work if you have                       Distributors must not sell, or attempt to sell, any
  followed the procedure to inform the manager of our             competing non-It Works! programs, products or
  policy of only allowing one booth per show.)                    services. Any program, product or service that is
                                                                  offered through network marketing or multi-level
  3.9 - Conflicts of Interest                                     marketing in the same generic categories as It Works!
       3.9.1 - Non-Solicitation                                   products or services is deemed to be competing,
       It Works! Distributors are free to participate in          regardless of differences in cost, quality, or other
  other non-competing multilevel or network marketing             distinguishing factors.
                                                            10
Case 8:20-cv-01743-KKM-TGW                 Document 1-2            Filed 07/28/20        Page 18 of 61 PageID 52
                                                       It Works
                                             908 Riverside Dr. - Palmetto. FL 34221

       3.9.3 - Distributor Participation in Other Direct            Distributor shall not, on his or her own behalf, or on
               Selling Programs                                     behalf of any other person or entity:
       If a Distributor is engaged in other non-It Works!
  direct selling programs, it is the responsibility of the               a) Directly or indirectly use or disclose any
  Distributor to ensure that his or her It Works! business                  information contained in any Downline
  is operated entirely separate and apart from any other                    Activity Report or in eSuite to any third party;
  program in which the Distributor participates whether                  b) Directly or indirectly disclose the password or
  online or offline. To this end, the following must be                     other access code to his or her eSuite;
  adhered to:                                                            c) Use the information contained in any
                                                                            Downline Activity Report or eSuite to
      a) The Distributor shall not display It Works!                        compete with It Works! or for any purpose
         promotional materials, sales aids, products or                     other than managing or supporting his or her
         services with or in the same location as any                       It Works! business; or
         non-It Works! promotional materials, sales                      d) Recruit or solicit any Distributor or Customer
         aids, products or services.                                        listed on any Downline Activity Report or in
      b) The Distributor may not offer the It Works!                        eSuite, or in any manner attempt to influence
         opportunity, products or services to                               or induce any Distributor or Customer to alter
         prospective or existing Customers or                               their business relationship with It Works!.
         Distributors in conjunction with any non-It
         Works! program, opportunity, product or                        Upon demand by the Company, any current or
         service.                                                   former Distributor will return the original and all
      c) The Distributor may not offer any non-It                   copies of Downline Activity Reports or other
         Works! opportunity, products, services, or                 information to the Company.
         opportunity at any It Works!-related meeting,
         seminar or convention, or within two hours                 3.10 - Targeting Other Direct Sellers
         and a five mile radius of the It Works! event.                  It Works! does not condone Distributors
         If the It Works! meeting is held telephonically            specifically or consciously targeting the sales force of
         or via the internet, any non-It Works! meeting             another direct sales company to sell It Works!
         must be at least two hours before or after the             products or to become Distributors for It Works!, nor
         It Works! meeting, and on a different                      does It Works! condone Distributors' solicitation or
         conference telephone number or internet                    enticement of members of the sales force of another
         web address from the It Works! meeting.                    direct sales company to violate the terms of their
                                                                    contract with such other company.                Should
       3.9.4 - Downline Activity (Genealogy) Reports                Distributors engage in such activity, they bear the risk
               and eSuite Access.                                   of being sued by the other direct sales company. If any
       Downline Activity Reports are available for                  lawsuit, arbitration or mediation is brought against a
  Distributor access and viewing at the Company eSuite              Distributor alleging that he or she engaged in
  of each Distributor's replicated It Works! website.               inappropriate recruiting activity of its sales force or
  Furthermore, access to a Downline Activity Report is a            customers, It Works! will not pay any of Distributor's
  privilege and not a right. It Works! reserves the right           defense costs or legal fees, nor will It Works!
  to suspend a Distributor's access to a Downline                   indemnify the Distributor for any judgment, award, or
  Activity Report if the Company reasonably believes                settlement.
  that the Distributor is utilizing, sharing or posting the
  Downline Activity Report inappropriately. All                     3.11 - Cross-Sponsoring
  Downline Activity Reports and the information                          Actual or attempted cross-sponsoring is strictly
  contained therein are confidential and constitute                 prohibited. 'Cross-sponsoring' is defined as the
  proprietary information and business trade secrets                enrollment of an individual or entity that already has
  belonging to It Works!. The Distributor and It Works!             a current Customer or Distributor Agreement on file
  agree that, but for this agreement of confidentiality             with It Works!, or who has had such an agreement
  and nondisclosure, It Works! would not provide                    within the preceding six (6) calendar months, within a
  Downline Activity Reports to the Distributor. A                   different line of sponsorship or leadership level
                                                              11
Case 8:20-cv-01743-KKM-TGW                Document 1-2            Filed 07/28/20        Page 19 of 61 PageID 53
                                                      It Works
                                            908 Riverside Dr. - Palmetto. FL 34221

  Enrollers. The use of a spouse's or relative's name,             3.14 - Holding Applications or Orders
  trade names, DBAs, assumed names, corporations,                      Distributors must not manipulate enrollments of
  partnerships, trusts, federal ID numbers, fictitious ID          new applicants and purchases of products. All
  numbers or any straw-man or other artifice to                    Distributor Applications and Agreements and product
  circumvent this policy is prohibited. Distributors shall         orders must be sent to It Works! within 72 hours from
  not demean, discredit or defame other It Works!                  the time they are signed by a Distributor or placed by
  Distributors in an attempt to entice another                     a Customer, respectively. Any changes in placement
  Distributor to become part of the first Distributor's            of volume must be completed within 24 hours of entry
  Marketing Organization. This policy shall not prohibit           of product orders.
  the transfer of an It Works! business in accordance
  with Section 3.27.                                               3.15 - Identification
                                                                       All US Distributors are required to provide their
       If Cross-sponsoring is discovered, it must be               Social Security Number or a Federal Employer
  brought to the Company's attention immediately. It               Identification Number to It Works! through the
  Works! may take disciplinary action against the                  Distributor Application and Agreement. Upon
  Distributor that changed organizations and/or those              enrollment, the Company will provide a unique
  Distributors who encouraged or participated in the               Distributor Identification Number to the Distributor by
  Cross- sponsoring. It Works! may also move all or part           which he or she will be identified. This number will be
  of the offending Distributor's Marketing Organization            used to place orders and track commissions and
  to his or her original Marketing Organization if the             bonuses.
  Company deems it equitable and feasible to do so.
  However, It Works! is under no obligation to move the            3.16 - Income Taxes
  Cross-sponsored Distributor's Marketing Organization                  Each Distributor is responsible for paying local,
  and the ultimate disposition of the organization                 state and federal taxes on any income generated as an
  remains in the sole discretion of It Works!.                     Independent Distributor. If an It Works! business is tax
  Distributors waive all claims and causes of action               exempt, the Federal Employer Identification Number
  against It Works! arising from or relating to the                must be provided to It Works!. Every year, It Works!
  disposition of the cross-sponsored Distributor's                 will provide an IRS Form 1099 MISC (Non-employee
  Marketing Organization.                                          Compensation) earnings statement to each U.S.
                                                                   resident who: 1) had earnings of over $600 in the
  3.12 - Errors or Questions                                       previous calendar year; or 2) made purchases during
      Distributors must notify the Company within                  the previous calendar year in excess of $5,000.
  three (3) days following month end if they believe
  volume and/or rank is incorrect. After verifying rank            3.17 - Independent Contractor Status
  and volume, if a Distributor believes any errors have                Distributors are independent contractors and are
  been made regarding commissions or bonuses, the                  not purchasers of a franchise or a business
  Distributor must notify It Works! in writing within 30           opportunity. The agreement between It Works! and
  days of the date of the alleged error or incident in             its     Distributors    does      not      create     an
  question. It Works! will not be responsible for any              employer/employee           relationship,       agency,
  errors, omissions or problems not reported to the                partnership, or joint venture between the Company
  Company after these dates.                                       and the Distributor. Distributors shall not be treated
                                                                   as an employee for his or her services or for federal or
  3.13 - Governmental Approval or Endorsement                      state tax purposes. All Distributors are responsible for
       Neither Federal nor State regulatory agencies nor           paying local, state, and federal taxes due from all
  officials approve or endorse any direct selling or               compensation earned as a Distributor of the
  network marketing companies or programs.                         Company. The Distributor has no authority (expressed
  Therefore, Distributors shall not represent or imply             or implied), to bind the Company to any obligation.
  that It Works! or its Compensation Plan have been                Each Distributor shall establish his or her own goals,
  'approved', 'endorsed' or otherwise sanctioned by any            hours, and methods of sale, so long as he or she
  government agency.                                               complies with the terms of the Distributor Agreement,
                                                                   these Policies and Procedures, and applicable laws.
                                                             12
Case 8:20-cv-01743-KKM-TGW                Document 1-2            Filed 07/28/20        Page 20 of 61 PageID 54
                                                      It Works
                                            908 Riverside Dr. - Palmetto. FL 34221

      The name of It Works! and other names as may be              those other countries that the Company has
  adopted by It Works! are proprietary trade names,                announced are officially opened for business.
  trademarks and service marks of It Works!. As such,              Moreover, allowing a few Distributors to conduct
  these marks are of great value to It Works! and are              business in markets not yet opened by It Works!
  supplied to Distributors for their use only in an                would violate the concept of affording every
  expressly authorized manner. Use of the It Works!                Distributor the equal opportunity to expand
  name on any item not produced by the Company is                  internationally.
  prohibited, except as follows:
                                                                        Accordingly, Distributors are authorized to sell It
  [Distributor's Name] Independent Distributor for It              Works! products and services and enroll Customers or
  Works!                                                           Distributors only in the countries in which It Works! is
                                                                   authorized to conduct business, as announced in
       All Distributors may list themselves as an 'It              official Company literature. It Works! products or
  Works! Independent Distributor' in the white or                  sales aids cannot be shipped into or sold in any
  yellow pages of a telephone or online directory under            country that has not been officially opened to do
  their own name. No Distributor may place telephone               business. Distributors may sell, give, transfer, or
  directory display ads using It Works!' name or logo.             distribute It Works! products or sales aids only in the
  Distributors may not answer the telephone by saying              country in which the Company is authorized to
  "It Works!", "It Works! Incorporated", or in any other           conduct business. In addition, no Distributor may, in
  manner that would lead the caller to believe that he             any unauthorized country: (a) conduct sales,
  or she has reached corporate offices of It Works!.               enrollment or training meetings; (b) enroll or attempt
                                                                   to enroll potential Customers or Distributors; or (c)
  3.18 - Insurance                                                 conduct any other activity for the purpose of selling It
       You may wish to arrange insurance coverage for              Works!      products, establishing a         Marketing
  your business. Your homeowner's insurance policy                 Organization, or promoting the It Works! opportunity
  does not cover business-related injuries or the theft of         unless and until authorized by Company. Anyone
  or damage to inventory or business equipment.                    found enrolling a customer or Distributor in an
  Contact your insurance agent to make certain that                unopened country will be subject to discipline
  your business property is protected. This can often be           according to Section 8; plus all commissions earned
  accomplished with a simple 'Business Pursuit'                    from a leg operating in an unopened country shall be
  endorsement attached to your present homeowner's                 subject to clawback and the illegally enrolled leg shall
  policy. The Company maintains product liability                  be cancelled.      Therefore, any illegally enrolled
  insurance for all of its products. A copy of the Vendor          customer or Distributor will be terminated. For further
  Insurance Form can be found in your eSuite under the             information regarding Company international policies,
  Forms section of the Documents tab. If the event you             see each opened country's legal documents located
  are attending requires a named insured, please                   on the website or in eSuite.
  complete the Liability Certificate of Insurance Form
  that includes: date of event, all names to be insured,           3.20 - Inventory Loading
  event holder name and address, and address where                      Distributors must never purchase more products
  event is being held. Once completed a copy of the                than they can reasonably use or sell in a month and
  Vendor Insurance form will be emailed to the                     must not influence or attempt to influence any other
  distributor that submitted the form. Please make sure            Distributor to buy more products than they can
  to submit your request no later than ten (10) business           reasonably use or sell in a month. The Company
  days prior to your event.                                        follows the 70% industry standard whereby
                                                                   Distributors may not order additional product unless
  3.19 - International Marketing                                   they have sold or used for personal or family use at
      Because of critical legal and tax considerations, It         least 70% of previously purchased product. Although
  Works! must limit the resale of It Works! products and           the primary function of the Company is to sell
  services, and the presentation of the It Works!                  products to the general consuming public, the
  business to prospective Customers and Distributors               Company realizes that its Distributors may wish to
  located within the United States, U.S. Territories, and          purchase product for personal or family use in
                                                             13
Case 8:20-cv-01743-KKM-TGW                Document 1-2            Filed 07/28/20         Page 21 of 61 PageID 55
                                                      It Works
                                            908 Riverside Dr. - Palmetto. FL 34221

  reasonable amounts. For this reason, the company                 accounts may be grandfathered or asked to
  defines a retail sale to include sales to non-                   consolidate accounts at the sole discretion of
  participants, as well as purchases for personal or               Company.
  family use in reasonable amounts, which are not made
  primarily for purposes of qualification or                       3.24 - Actions of Household Members or Affiliated
  advancement.                                                           Individuals
                                                                        If any member of a Distributor's immediate
  3.21 - Adherence to Laws and Ordinances                          household engages in any activity that, if performed
       Distributors shall comply with all Federal, State,          by the Distributor, would violate any provision of the
  and local laws and regulations in the conduct of their           Agreement, such activity will be deemed a violation by
  businesses. Many cities and counties have laws                   the Distributor and It Works! may take disciplinary
  regulating certain home-based businesses. In most                action pursuant to these Policies and Procedures
  cases, these ordinances are not applicable to                    against the Distributor. If a Distributor cancels his or
  Distributors because of the nature of their business.            her position for any reason, then no member of the
  However, Distributors must obey those laws that do               immediate household may join the Company without
  apply to them. If a city or county official tells a              waiting the required time period. If a Distributor is
  Distributor that an ordinance applies to him or her, the         terminated, then no member of the immediate
  Distributor shall be polite and cooperative, and                 household may join the Company without written
  immediately send a copy of the ordinance to the                  permission from It Works!. Similarly, if any individual
  Compliance Department of It Works!. In many cases,               associated in any way with a corporation, partnership,
  there are exceptions to the ordinance that may apply             trust or other entity (collectively 'affiliated individual')
  to It Works! Distributors.                                       violates the Agreement, such action(s) will be deemed
                                                                   a violation by the entity, and It Works! may take
  3.22 - Minors                                                    disciplinary action against the entity.
      Retail Customers, Loyal Customers and
  Distributors must be at least 18 years of age as our             3.25 - Requests for Records
  products are intended for use by adults only.                        Any request from a Distributor for copies of
  Distributors shall not enroll or recruit minors into the         invoices, Applications, Downline Activity Reports, or
  It Works! program or they shall be subject to                    other records will require a fee of $1.00 per page per
  disciplinary sanctions as set forth in Section 8.1               copy. This fee covers the expense of mailing and time
                                                                   required to research files and make copies of the
  3.23 - One It Works! Business Per Distributor and Per            records.
        Household
       A Distributor may operate or have an ownership              3.26 - Roll-up of Marketing Organization
  interest, legal or equitable, as a sole proprietorship,              When a vacancy occurs in a Marketing
  partner, shareholder, trustee, or beneficiary, in only           Organization due to the termination of an It Works!
  one It Works! business. No individual may have,                  business, no Distributor moves up, but the volume will
  operate or receive compensation from more than one               compress for commission purposes.            See the
  It Works! business. Individuals of the same family unit          Compensation Plan for further details.
  may not enter into or have an interest in more than
  one It Works! business. A 'family unit' is defined as            3.27 - Sale, Transfer or Assignment of an It Works!
  spouses and dependent children living at or doing                      Business
  business at the same address. As an accommodation                     There is a $200 fee for the sale, transfer or
  to Distributors, the Company allows two (2)                      assignment of an It Works! business. Although an It
  Distributor accounts per household as long as                    Works! business is a privately owned, independently
  separate Social Security Numbers are on file and the             operated business, the sale, transfer or assignment of
  businesses are operated separately.         Therefore,           an It Works! business is subject to certain limitations.
  husbands and wives are allowed to have separate                  If a Distributor wishes to sell or transfer his or her It
  accounts, but one spouse must be placed directly                 Works! business, the following criteria must be met:
  beneath the other and cannot run business in
  separate legs. Existing Distributors with multiple                    a) The sale or transfer must be documented in
                                                             14
Case 8:20-cv-01743-KKM-TGW                Document 1-2            Filed 07/28/20         Page 22 of 61 PageID 56

                                                      It Works
                                            908 Riverside Dr. • Palmetto. FL 34221

         writing.                                                  assume the obligations and position of the selling or
      b) Protection of the existing line of sponsorship            transferring Distributor. A Distributor who sells or
         must always be maintained so that the It                  transfers his or her Company business shall not be
         Works! business continues to be operated in               eligible to re-apply as an It Works! Distributor for a
         that line of sponsorship.                                 period of at least three (3) full calendar months after
      c) The buyer or transferee must become a                     the date of the sale or transfer.
         qualified It Works! Distributor. If the buyer or
         transferee is an active It Works! Distributor,            The transferred account will not be viewed as a New
         he or she must first terminate his or her It              Distributor and will not be eligible for any New
         Works! business and wait three (3) calendar               Distributor bonuses and/or promotions, nor will the
         months before acquiring any interest in a                 purchaser or transferee receive any remaining bonus
         different It Works! business.                             payouts from what was achieved by the original
      d) Before the sale, transfer or assignment can be            account holder.
         finalized and approved by It Works!, any debt
         obligations the selling Distributor has with It           3.28 - Separation of an It Works! Business
         Works! must be satisfied.                                      It Works! Distributors sometimes operate their It
      e) The selling or transferring Distributor must be           Works! businesses as husband-wife partnerships,
         in good standing and not in violation of any of           regular partnerships, corporations, or trusts. At such
         the terms of the Agreement in order to be                 time as a marriage may end in divorce or a
         eligible to sell, transfer or assign an It Works!         corporation, partnership or trust (the latter three
         business.                                                 entities are collectively referred to herein as 'entities')
      f) The Company reserves the right to purchase                may dissolve, arrangements must be made to assure
         or assume control of the position at the same             that any separation or division of the business is
         price or pursuant to the same terms as the                accomplished so as not to adversely affect the
         purchaser or transferee.                                  interests and income of other businesses up or down
      g) If  the selling or transferring Distributor               the line of sponsorship. If the separating parties fail to
         engages in cross recruiting at any time, It               provide for the best interests of other Distributors and
         Works! reserves the right to take all                     the Company in a timely fashion, It Works! will
         appropriate         legal   action,     including         involuntarily terminate the Distributor Agreement.
         cancellation of the affected It Works!
         business.                                                     During the divorce or entity dissolution process,
                                                                   the parties must adopt one of the following methods
      Prior to selling or transferring an It Works!                of operation:
  business, the selling or transferring Distributor must
  notify It Works! at transfers@itworks.com of his or her               a) One of the parties may, with consent of the
  intent to sell or transfer the It Works! business. Upon                  other(s), operate the It Works! business
  complete execution of the appropriate agreement                          pursuant to an assignment in writing whereby
  made between the Distributor and the buyer or                            the relinquishing spouse, shareholders,
  transferee, the parties must submit a copy to It                         partners or trustees authorize It Works! to
  Works!. It Works! reserves the right to request                          deal directly and solely with the other spouse
  additional documentation that may be necessary to                        or non-relinquishing shareholder, partner or
  analyze the transaction between the buyer and seller.                    trustee.
  It Works! will, in its sole and absolute discretion,
  approve or deny the sale, transfer or assignment                      b) The parties may continue to operate the It
  within 30 days after its receipt of all necessary                        Works! business jointly on a 'business-as-
  documents from the parties.                                              usual' basis, whereupon all compensation
                                                                           paid by It Works! will be paid according to the
      If the parties fail to obtain Company approval for                   status quo as it existed prior to the divorce
  the transaction, the transfer or sale shall be voidable                  filing or dissolution proceedings. This is the
  at the option of Company. The purchaser or                               default procedure if the parties do not agree
  transferee of the existing Company business will                         on the format set forth above.
                                                             15
Case 8:20-cv-01743-KKM-TGW                  Document 1-2            Filed 07/28/20        Page 23 of 61 PageID 57
                                                        It Works
                                              908 Riverside Dr. - Palmetto. FL 34221

       Under no circumstances will the Marketing                     business is transferred by a will or other testamentary
  Organization of divorcing spouses or a dissolving                  process, the beneficiary acquires the right to collect all
  business entity be divided. Similarly, under no                    bonuses and commissions of the deceased
  circumstances will It Works! split commission and                  Distributor's Marketing Organization provided the
  bonus payments between divorcing spouses or                        following qualifications are met. The successor(s)
  members of dissolving entities. It Works! will                     must:
  recognize only one Marketing Organization and will
  issue only one commission payment per It Works!                         a) Complete and execute a Distributor
  business per commission cycle.             Commission                      Agreement;
  payments shall always be issued to the same                             b) Comply with terms and provisions of the
  individual or entity. In the event that parties to a                       Agreement; and
  divorce or dissolution proceeding are unable to                         c) Meet all of the qualifications for the deceased
  resolve a dispute over the disposition of commissions                      Distributor's status.
  and ownership of the business in a timely fashion as
  determined by the Company, the Distributor                                Bonus and commission payments of an It Works!
  Agreement shall be involuntarily canceled.                         business transferred pursuant to this section will be
                                                                     paid in a single payment jointly to the devisees. The
      If a former spouse has completely relinquished all             devisees must provide It Works! with an 'address of
  rights in the original It Works! business pursuant to a            record' to which all bonus and commission payments
  divorce, he or she is thereafter free to enroll under any          will be sent. If the business is bequeathed to joint
  Enroller of his or her choosing without waiting three              devisees, they must form a business entity and acquire
  (3) calendar months. In the case of business entity                a Federal Employer Identification Number. It Works!
  dissolutions, the former partner, shareholder,                     will issue all bonus and commission payments and one
  member, or other entity affiliate who retains no                   1099 MISC (US only) to the business entity.
  interest in the business must wait three (3) calendar
  months from the date of the final dissolution before               3.31 - Transfer Upon Death of a Distributor
  re-enrolling as a Distributor. In either case, the former              To effectuate a testamentary transfer of an It
  spouse or business affiliate shall have no rights to any           Works! business, the Personal Representative or
  Distributors in their former organization or to any                Executor of the Estate of the deceased Distributor
  former Retail Customer. They must develop the new                  must provide all necessary documentation to establish
  business in the same manner as would any other new                 a successor or successors' right to the subject It
  Distributor.                                                       Works! business. The successor or successors must
                                                                     complete and execute a Distributor Agreement and
  3.29 - Sponsoring                                                  meet the other requirements set forth in Section 3.30.
       All active Distributors in good standing have the
  right to sponsor and enroll others into It Works!. Each            3.32 - Transfer Upon Incapacitation of a Distributor
  prospective Customer or Distributor has the ultimate                    To effectuate a transfer of an It Works! business
  right to choose his or her own Enroller. If two                    because of incapacity, the Trustee of the incapacitated
  Distributors claim to be the Enroller of the same new              Distributor must provide all necessary documentation
  Distributor or Customer, the Company shall regard the              to establish the right of the subject Trust and Trustee
  first Application received by the Company as                       to the subject It Works! business. The Trustee must,
  controlling.                                                       on behalf of the Trust, complete and execute a
                                                                     Distributor Agreement and meet the other
  3.30 - Succession                                                  requirements set forth in Section 3.30.
       Upon the death or incapacitation of a Distributor,
  his or her business may be passed to his or her heirs.             3.33 - Telemarketing Techniques
  Appropriate legal documentation must be submitted                        The Federal Trade Commission and the Federal
  to the Company to ensure the transfer is proper.                   Communications Commission each have laws that
  Accordingly, a Distributor should consult an attorney              restrict telemarketing practices. Both federal agencies
  to assist him or her in the preparation of a will or other         (as well as a number of states) have 'do not call'
  testamentary instrument. Whenever an It Works!                     regulations as part of their telemarketing laws.
                                                               16
Case 8:20-cv-01743-KKM-TGW                Document 1-2            Filed 07/28/20        Page 24 of 61 PageID 58
                                                      It Works
                                            908 Riverside Dr. - Palmetto. FL 34221

  Although It Works! does not consider Distributors to                       is someone with whom you have at least a
  be 'telemarketers' in the traditional sense of the word,                   recent first-hand relationship within the
  these government regulations broadly define the term                       preceding three months. Bear in mind,
  'telemarketer' and 'telemarketing' so that your                            however, that if you engage in 'card
  inadvertent action of calling someone whose                                collecting' with everyone you meet and
  telephone number is listed on the National Do Not Call                     subsequently call them, the FTC may consider
  Registry could cause you to violate the law. Moreover,                     this a form of telemarketing that is not
  these regulations must not be taken lightly as they                        subject to this exemption.      Thus, if you
  carry significant penalties (up to $16,000 per                             engage in calling 'acquaintances,' you must
  violation).                                                                make such calls on an occasional basis only
                                                                             and not make this a routine practice.
       Therefore, Distributors must not engage in
  telemarketing in the operation of their It Works!                     e) In addition, Distributors shall not use
  businesses. The term 'telemarketing' means the                           automatic telephone dialing systems relative
  placing of one or more telephone calls to an individual                  to the operation of their It Works! businesses.
  or entity to induce the purchase of an It Works!                         The term 'automatic telephone dialing
  product or service or to recruit them for the It Works!                  system' means equipment which has the
  opportunity. 'Cold calls' made to prospective                            capacity to: (a) store or produce telephone
  customers or Distributors that promote either It                         numbers to be called, using a random or
  Works' products or services or the It Works!                             sequential number generator; and (b) to dial
  opportunity constitute telemarketing and are                             such numbers.
  prohibited. However, a telephone call(s) placed to a
  prospective Customer or Distributor (a 'prospect') is            3.34 - Back Office Access
  permissible under the following situations:                            It Works! makes online back office services, such
                                                                   as eSuite, available to its Distributors. Back office
      a) If the Distributor has an established business            services provide Distributors access to confidential
         relationship with the prospect. An                        and proprietary information that may be used solely
         'established business relationship' is a                  and exclusively to promote the development of a
         relationship between a Distributor and a                  Distributor's It Works! business and to increase sales
         prospect based on the prospect's purchase,                of It Works! products. However, access to a back office
         rental, or lease of goods or services from the            is a privilege, and not a right. It Works! reserves the
         Distributor, or a financial transaction                   right to deny Distributors' access to the back office at
         between the prospect and the Distributor,                 its sole discretion.
         within the eighteen (18) months immediately
         preceding the date of a telephone call to                 SECTION 4 - RESPONSIBILITIES OF DISTRIBUTORS
         induce the prospect's purchase of a product
         or service.                                               4.1 - Change of Contact Information
                                                                        To ensure timely delivery of products, support
      b) The prospect's personal inquiry or application            materials, and commission payments, it is critically
         regarding a product or service offered by the             important that the It Works! files are current. Street
         Distributor, within the three (3) months                  addresses are required for shipping. Distributors
         immediately preceding the date of such a call.            planning to move should update their mailing address,
                                                                   email address and telephone number information via
      c) If the Distributor receives written and signed            the eSuite function of the Distributor's replicated It
         permission from the prospect authorizing the              Works! website. To guarantee proper delivery, two
         Distributor to call. The authorization must               weeks advance notice must be provided to It Works!
         specify the telephone number(s) which the                 on all changes.
         Distributor is authorized to call.
                                                                   4.2 - Continuing Development Obligations
      d) You may call family members, personal                          4.2.1 - Ongoing Training
         friends, and acquaintances. An 'acquaintance'
                                                             17
Case 8:20-cv-01743-KKM-TGW                 Document 1-2            Filed 07/28/20        Page 25 of 61 PageID 59
                                                       It Works
                                             908 Riverside Dr. - Palmetto. FL 34221

            Any Distributor who enrolls another                         4.2.4 - Residual Income
  Distributor into It Works! must perform a bona fide                   Nothing contained in Section 4.2, 4.2.1, 4.2.2 or
  assistance and training function to ensure that his or            4.2.3 is intended to limit or prohibit a Distributor from
  her Marketing Organization is properly operating his              receiving his or her organizational residual income as
  or her It Works! business. Distributors must have                 long as compensation plan requirements are met.
  ongoing contact and communication with the
  Distributors in their Marketing Organizations.                    4.3 - Non-Disparagement
  Examples of such contact and communication may                         The Company wants to provide customers and
  include, but are not limited to: newsletters, written             Distributors with the best products, and Distributors
  correspondence, personal meetings, telephone                      with the best Compensation Plan, and service in the
  contact, voice mail, electronic mail, and the                     industry. Accordingly, we value constructive criticisms
  accompaniment of downline Distributors to It Works!               and comments. All such comments should be
  meetings, training sessions, and other functions.                 submitted in writing to the Compliance Department.
  Upline Distributors are also responsible to motivate              While the Company welcomes constructive input,
  and train new Distributors in It Works! product                   negative comments and remarks made in the field by
  knowledge, effective sales techniques, the It Works!              Distributors about the Company, its products, the
  Compensation Plan, and compliance with Company                    Compensation Plan or other Distributors serve no
  Policies and Procedures. Communication with and the               purpose other than to sour the enthusiasm of other
  training of downline Distributors must not, however,              Company Distributors. For this reason, and to set the
  violate Section 3.2 (regarding the development of                 proper example for their Marketing Organization,
  Distributor-produced sales aids and promotional                   Distributors must not disparage, demean, or make
  materials). Any Distributor hosting organizational                negative remarks about Company, other Company
  training calls must do so at times that does not conflict         Distributors, Company products, the Compensation
  with Company corporate training or informational                  Plan, or Company directors, officers, or employees.
  calls. These corporate calls are presented to allow
  Distributors to gain information and knowledge about              4.4 - Providing Documentation to Applicants
  the Company, the products, sales tips, Policies and                  Distributors must describe the location of the most
  Procedures and business building and are integral to              current version of the Policies and Procedures and the
  the development and success of the Distributor's                  Compensation Plan to individuals whom they are
  business.                                                         sponsoring to become Distributors before the
                                                                    applicant signs a Distributor Agreement. If the
  Distributors should monitor the Distributors in their             individual requests a hard copy, Distributors must
  Marketing Organizations to guard against downline                 provide a copy of the requested material.
  Distributors making improper product or business
  claims or engaging in any illegal or inappropriate                4.5 - General Conduct
  conduct.                                                               Distributors must not engage in any activity
                                                                    outside of their It Works! business that may, in It
      4.2.2 - Increased Training Responsibilities                   Works!' discretion, damage It Works! reputation or
      As Distributors progress through the various                  community standing. Therefore, It Works! reserves
  levels of leadership, they will become more                       the right to cancel any Distributor's Agreement and
  experienced in sales techniques, product knowledge,               independent business if the Distributor is convicted of,
  and understanding of the It Works! program. They will             or pleads no contest to, any charge, or finding of
  be called upon to share this knowledge with lesser                liability, for any act or omission involving a claim of
  experienced Distributors within their organization.               fraud, physical or sexual misconduct, theft, use, sales
                                                                    or distribution of a controlled substance, or any other
      4.2.3 - Ongoing Sales Responsibilities                        act or omission that involves moral turpitude or a
      Regardless of their level of achievement,                     criminal felony.
  Distributors have an ongoing obligation to continue to
  promote sales through the generation of new                       4.6 - Reporting Policy Violations
  customers and through servicing their existing                         Distributors observing a Policy violation by
  customers.                                                        another Distributor should submit a written report of
                                                              18
Case 8:20-cv-01743-KKM-TGW                Document 1-2            Filed 07/28/20        Page 26 of 61 PageID 60
                                                      It Works
                                            908 Riverside Dr. - Palmetto. FL 34221

  the violation directly to the attention of the Company                b)   It is recommended that at least 70% of a
  Compliance Department. Details of the incidents such                       Distributor's total monthly Personal Sales
  as dates, number of occurrences, persons involved,                         Volume be sold to personal customers.
  and any supporting documentation should be
  included in the report.                                          No compensation is ever paid to Distributors based
                                                                   upon sponsoring or recruiting Distributors without
  4.7 - Vendor Confidentiality/Communications                      product sales.
        It Works!' business relationships with its
  marketing alliances, vendors, suppliers, Company                    5.1.1 - Special State Rules
  associates or former employees within or outside the                Cumulative purchases during the first six (6)
  corporate workplace are confidential, proprietary,               months of becoming a Company Distributor are
  and not to be circumvented by either the Distributor             limited to less than $500 in Georgia, Louisiana, Indiana
  or the vendor. A Distributor shall not contact, directly         and Michigan. See specific addenda to Agreement for
  or indirectly, or speak to or communicate with any               specific states as to statutory purchasing limitations,
  representative of any supplier or manufacturer of                buyback rules and other restrictions, disclosures and
  Company except at a Company-sponsored event at                   additional Distributor rights and responsibilities.
  which the representative is present at the request of
  Company or as otherwise expressly permitted in                   5.2 - No Territory Restrictions
  writing by Company. Violation of this regulation may                  There are no exclusive territories granted to
  result in termination of the Distributor and possible            anyone. No franchise fees are required.
  claims of damages against the Distributor and/or the
  vendor. Questions regarding any of these business                5.3 - Sales Receipts
  relationships should be directed to the Compliance                    All Distributors must provide their Retail
  Department.                                                      Customers with two (2) copies of an It Works! sales
                                                                   receipt at the time of the sale. These receipts set forth
  SECTION 5 - SALES REQUIREMENTS                                   the consumer protection rights afforded by federal or
                                                                   state law. Distributors must maintain all Retail sales
  5.1 - Product Sales                                              receipts for a period of two (2) years and furnish them
       The It Works! Compensation Plan is based on the             to the Company at the Company's request. Records
  sale of Company products and services to end                     documenting the purchases of Distributors' Direct
  consumers. Distributors must fulfill personal and                Customers must be maintained by Distributors.
  retail sales requirements (as well as meet other
  responsibilities set forth in the Agreement) to be                  In addition, Distributors must orally inform the
  eligible for bonuses, commissions and advancement                buyer of his or her cancellation rights.
  to higher levels of achievement. The following sales
  requirements must be satisfied for Distributors to be            5.4 - Product Repackaging, Rebranding and Sampling
  eligible for commissions:                                              Prohibited
                                                                         The Company's products may not be rebranded,
      a) Distributors must satisfy the Personal Sales              resold or repackaged in any way. All products must be
         Volume      and    Group      Sales   Volume              sold and displayed using Company trademarks. For
         requirements to fulfill the requirements                  example, the Ultimate Body Applicator may not be
         associated with their rank as specified in the            sold or marketed under any other name. No
         It Works! Compensation Plan. Personal Sales               Distributor shall in any way alter, change or remove
         Volume includes purchases made by the                     the label, packaging or instructions intended by
         Distributor and purchases made by the                     Company to accompany any product. No sampling
         Distributor's personal Customers. Group                   programs are allowed other than through Company-
         Sales Volume shall include the total sales                approved packaging. Providing Company products at
         volume of all Distributors in his or her                  parties for testing purposes is exempt from this
         Marketing Organization, including the                     prohibition.
         Distributor's Personal Sales Volume.

                                                             19
Case 8:20-cv-01743-KKM-TGW                Document 1-2           Filed 07/28/20        Page 27 of 61 PageID 61
                                                     It Works
                                           908 Riverside Dr. - Palmetto. FL 34221

  5.5 - Product Source                                            status. Commission "Holds" occur primarily due to
        All products shall be purchased exclusively from          violation(s) of the terms of the Distributor Agreement.
  the Company. A Distributor is prohibited from                   If a Distributor fails to resolve the issue(s) that led to
  reselling products that have been purchased from                the commission "Hold" within three (3) months of the
  another Distributor.                                            "Hold" being placed on the account, the Distributor
                                                                  forfeits any commissions earned.
  SECTION 6 - BONUSES AND COMMISSIONS
                                                                       6.1.2 - Commission Payments
  6.1 - Bonus and Commission Qualifications                            All commissions and bonuses except for weekly
       A Distributor must be active and in compliance             Fast Start Bonuses are paid monthly by the 15th day of
  with the Agreement to qualify for bonuses and                   the following month by 5:00 PM CT. Weekly Fast Start
  commissions. So long as a Distributor complies with             Bonuses are paid based upon a Saturday to Friday
  the terms of the Agreement, It Works! shall pay                 weekly period with payment on the following Friday
  commissions to such Distributor in accordance with              by 5:00 PM CT. No commission payments will be paid
  the Compensation Plan in US Dollars. To be                      to Distributors whose distributorships have expired
  commission qualified on a monthly basis, a Distributor          prior to the end of the commission period and not
  must either maintain 150 PBV or run an optional                 renewed during the commission period. Further, no
  minimum 80 BV autoshipment no later than the 25th               commissions will be paid to or on Distributors who
  of the month; alternatively, a Distributor can be               resign or are terminated from the Company during the
  commission qualified by purchasing a Business Builder           commission period. All commissions and bonuses are
  Kit during the month they join the Company. The                 paid via a Distributor's It Works! Pay account. A
  minimum amount for which It Works! will issue a                 Distributor's It Works! Pay account is automatically
  payment is $15. If a Distributor's bonuses and                  created at the time of their first commission or bonus
  commissions do not equal or exceed $15, the                     payment and an activation email is sent to the
  Company will accrue the commissions and bonuses                 Distributor. If a Distributor does not follow the
  until they total $15. A payment will be issued once             procedure within the email to complete the activation
  $15 has been accrued.                                           of their It Works! Pay account within three (3) months
                                                                  of receipt, the Distributor forfeits any commissions
      6.1.1 - Deadlines for Qualifications                        earned.
      The following order deadlines apply for purposes
  of qualifying for compensation and /or rank in each             6.2 - Adjustment to Bonuses and Commissions
  pay cycle:                                                           6.2.1 - Adjustments for Returned Products and
      Online Orders: 11:59 pm CT on the final day of the               Cancelled Services
  month.                                                               Distributors receive bonuses and commissions
      Faxed Orders: 1:00 pm CT on the final business              based on the actual sales of products and services to
  day of the month.                                               end consumers. When a product is returned to It
      Phone Orders: 5:00 pm CT on the final business              Works! for a refund or repurchase, or a service is
  day of the month.                                               cancelled and the Customer is entitled to a refund,
      The Company is not responsible for orders placed            either of the following may occur at the Company's
  after published deadlines and will not alter order data         discretion: (1) the bonuses and commissions
  to accommodate Distributors who do not meet the                 attributable to the returned or repurchased product
  deadlines or make mistakes on their orders. We                  or the refunded service will be deducted, in the month
  encourage Distributors to qualify early and to have             in which the refund is given and continuing every pay
  eSuite so they can track their business. It is the              period thereafter until the bonuses and commissions
  Distributor's responsibility to make sure they are              are recovered, from the Distributors who received
  qualified. Corrections to mistakes must be made                 bonuses and commissions on the sales of the refunded
  before the end of the month.                                    product or cancelled service; or (2) the Distributors
                                                                  who earned commissions or bonuses based on the
      Accounts that are in "Hold" status at the time of           sale of the returned product or cancelled service will
  the commission processing will be sent with the next            have the corresponding points deducted from their
  commission run following the release of the "Hold"              Group Volume in the next month and all subsequent
                                                            20
Case 8:20-cv-01743-KKM-TGW                 Document 1-2            Filed 07/28/20       Page 28 of 61 PageID 62
                                                       It Works
                                             908 Riverside Dr. - Palmetto. FL 34221

  months until such points are completely recovered.                INCOMPLETENESS, INCONVENIENCE, DELAY, OR
                                                                    LOSS OF THE USE OF THE INFORMATION), EVEN IF IT
       6.2.2 - Other Deductions                                     WORKS! OR OTHER PERSONS CREATING OR
       It Works! will deduct from all bonus and                     TRANSMITTING THE INFORMATION SHALL HAVE
  commission payments issued to a Distributor a data                BEEN ADVISED OF THE POSSIBILITY OF SUCH
  processing fee of $1. There is a $5 fee to recover                DAMAGES. TO THE FULLEST EXTENT PERMITTED BY
  commission and re-send via an alternative payment                 LAW, IT WORKS! OR OTHER PERSONS CREATING OR
  method. All paper checks requested upon cancellation              TRANSMITTING THE INFORMATION SHALL HAVE NO
  of distributor position, will incur a $5 fee. After               RESPONSIBILITY OR LIABILITY TO YOU OR ANYONE
  cancellation of the Distributor's position, after sixty           ELSE UNDER ANY TORT, CONTRACT, NEGLIGENCE,
  (60) days without notifying the Company regarding a               STRICT LIABILITY, PRODUCTS LIABILITY OR OTHER
  final payout for any outstanding commissions or                   THEORY WITH RESPECT TO ANY SUBJECT MATTER OF
  bonuses, the Company will begin to assess a monthly               THIS AGREEMENT OR TERMS AND CONDITIONS
  $5 service fee.                                                   RELATED THERETO.

  6.3 - Reports                                                          Access to and use of It Works!' online reporting
       All information provided by It Works! in online or           services and your reliance upon such information is at
  telephonic Downline Activity Reports, including, but              your own risk. All such information is provided to you
  not limited to, Personal and Group Sales Volume (or               'as is'. If you are dissatisfied with the accuracy or
  any part thereof), and downline sponsoring activity is            quality of the information, your sole and exclusive
  believed to be accurate and reliable. Nevertheless,               remedy is to discontinue use of and access to It
  due to various factors including, but not limited to, the         Works!' eSuite and your reliance upon the
  inherent possibility of human and mechanical error;               information.
  the accuracy, completeness, and timeliness of orders;
  denial of credit card and electronic check payments;              6.4 - Loyal Customer Rules
  returned products; credit card and electronic check                    a) Loyal Customers in the same household as
  chargebacks; the information is not guaranteed by It                      any Distributor will not count towards bonus
  Works! or any persons creating or transmitting the                        qualifications     or   rewards    programs.
  information.                                                              Distributors may not enroll a Loyal Customer
                                                                            from their own household under themselves
  ALL PERSONAL AND GROUP SALES VOLUME                                       or any other Distributor to be used for bonus
  INFORMATION IS PROVIDED 'AS IS' WITHOUT                                   qualifications or reward programs.
  WARRANTIES,   EXPRESS    OR   IMPLIED,  OR                             b) Multiple Loyal Customers per household
  REPRESENTATIONS OF ANY KIND WHATSOEVER. IN                                (outside the Distributor's own household)
  PARTICULAR, BUT WITHOUT LIMITATION, THERE                                 may be enrolled, but only one per household
  SHALL BE NO WARRANTIES OF MERCHANTABILITY,                                may count toward bonus qualifications or
  FITNESS   FOR   A   PARTICULAR    USE,  OR                                rewards programs.
  NON-INFRINGEMENT.                                                      c) Loyal Customers with more than one active
                                                                            account cannot be used multiple times for
      TO THE FULLEST EXTENT PERMISSIBLE UNDER                               bonus qualifications or rewards programs.
  APPLICABLE LAW, IT WORKS! AND/OR OTHER                                 d) Loyal Customers must be at least 18 years of
  PERSONS CREATING OR TRANSMITTING THE                                      age as our products are intended for use by
  INFORMATION WILL IN NO EVENT BE LIABLE TO ANY                             adults only.
  DISTRIBUTOR OR ANYONE ELSE FOR ANY DIRECT,                             e) Product must be shipped to the Loyal
  INDIRECT, CONSEQUENTIAL, INCIDENTAL, SPECIAL                              Customer's address.
  OR PUNITIVE DAMAGES THAT ARISE OUT OF THE USE                          f) The Loyal Customer must fulfill the terms of
  OF OR ACCESS TO PERSONAL AND GROUP SALES                                  the Loyal Customer Agreement or any
  VOLUME INFORMATION (INCLUDING BUT NOT                                     bonuses paid out to Distributors will be
  LIMITED TO LOST PROFITS, BONUSES, OR                                      recovered.
  COMMISSIONS, LOSS OF OPPORTUNITY, AND                                  g) Loyal Customers can purchase product for
  DAMAGES THAT MAY RESULT FROM INACCURACY,                                  personal use only and cannot resell the
                                                              21
Case 8:20-cv-01743-KKM-TGW               Document 1-2            Filed 07/28/20        Page 29 of 61 PageID 63

                                                     It Works
                                           908 Riverside Dr. • Palmetto. FL 34221

          product for any reason. Only Distributors are           or offer a money back guarantee. The Ultimate Body
          authorized to sell and advertise product.               Applicators and Facial Applicators are cosmetic
          Loyal Customers found to be selling or                  products and cannot be returned once the plastic
          advertising product will immediately have               wrapper is opened. To receive a refund, all products
          their rights to buy product terminated.                 must be post-marked within thirty (30) days of the
      h) Distributors are responsible for the proper              ship date in resalable, unopened, 'new' condition.
          enrollment of Loyal Customers. If a Loyal
          Customer disputes the Loyal Customer                    7.2 - Returns by Retail Customers
          Agreement and wishes to cancel prior to                      A Retail Customer who makes a purchase of $25
          fulfilling the three consecutive month                  or more has three (3) business days (72 hours) after
          autoshipment commitment, the enroller of                the sale or execution of a contract to cancel the order
          that Loyal Customer will be responsible for             and receive a full refund consistent with the policies
          paying the Membership Fee if the Loyal                  contained on the invoice. When a Distributor makes a
          Customer did not enroll properly. Verbal                sale or takes an order from a Retail Customer who
          agreements are not sufficient. If a Loyal               cancels or requests a refund within the 72 hour period,
          Customer personally enrolls online they will            the Distributor must promptly refund the Retail
          be held responsible for any fees. If the                Customer's money as long as the products are
          Distributor helps the Loyal Customer enroll             returned to the Distributor in substantially as good
          online and the Company does not obtain a                condition as when received. Additionally, Distributors
          proper electronic signature from the Loyal              must orally inform Retail Customers of their right to
          Customer, the Distributor will be held liable           rescind a purchase or an order within 72 hours, and
          for those fees.                                         ensure that the date of the order or purchase is
      i) If a Distributor enrolls a Loyal Customer and            entered on the order form.
          places that Loyal Customer with a downline
          Distributor, the enrolling Distributor will             7.3 - Return of Inventory and Sales Aids by
          remain the enroller of the Loyal Customer and                 Distributors Upon Cancellation
          will be considered the Enroller for all                      Within sixty (60) days after cancellation of a
          Compensation Plan purposes.                             Distributor's Agreement, the Distributor may return
      .1) A Loyal Customer may not be a Distributor at            his or her starter kit and any products and sales aids
          the same time. If a Loyal Customer becomes              held in his or her possession for a refund. In order to
          a Distributor, then he/she is no longer                 receive a refund from Company pursuant to this
          considered a Loyal Customer.                            policy, the following requirements must be met:
       k) If a Loyal Customer wishes to upgrade to a                   a) The items being returned must have been
          Distributor and has completed the Loyal                           personally purchased by the Distributor from
          Customer Agreement or the Loyal Customer                         It Works! (purchases from other Distributors
          has paid the Membership Fee, then the Loyal                       or third parties are not subject to refund);
          Customer is free to enroll as a Distributor                  b) The items must be in Resalable condition (see
          under whomever he or she chooses. If a Loyal                      Definition of 'Resalable' in Section 11 below);
          Customer wishes to upgrade to a Distributor                       and
          and has NOT completed the Loyal Customer                     c) The items must have been purchased from It
          Agreement and they want the Membership                            Works! within one year prior to the date of
          Fee to be waived, the Loyal Customer must                         cancellation, except in the states of Georgia,
          enroll under the same Distributor their Loyal                     Louisiana,      Maryland,      Massachusetts,
          Customer account is under.                                        Wyoming and the territory of Puerto Rico.
                                                                       d) Distributors may only return product for
  SECTION 7 - PRODUCT GUARANTEES, RETURNS AND                               Product Return Credit unless they are
  INVENTORY REPURCHASE                                                      cancelling their Distributorship.

  7.1 - Product Guarantee                                             Upon receipt of a Resalable starter kit and/or
       Since our products produce different results for           Resalable products and sales aids, the Distributor will
  different people, we do not guarantee specific results          be reimbursed 90% of the net cost of the original
                                                            22
Case 8:20-cv-01743-KKM-TGW                 Document 1-2            Filed 07/28/20        Page 30 of 61 PageID 64

                                                       It Works
                                             908 Riverside Dr. • Palmetto. FL 34221

  purchase price(s). Shipping charges incurred by a                 including, but not limited to, any applicable duty of
  Distributor when the items were purchased will not be             loyalty, any illegal, fraudulent, deceptive or unethical
  refunded. If the purchases were made through a                    business conduct, or any act or omission by a
  credit card or wallet, the refund will be credited back           Distributor that, in the sole discretion of the Company
  to the same account. If a Distributor was paid a bonus            may damage its reputation or goodwill (such act or
  or commission based on a product that he or she                   omission need not be related to the Distributor's It
  purchased, and such product is subsequently returned              Works! business), may result, at the Company
  for a refund, the commission that was paid to the                 discretion, in one or more of the following corrective
  Distributor based on that product purchase will be                measures:
  deducted from the amount of the refund.
                                                                         a) Issuance of a written warning or admonition;
       7.3.1 - Montana Residents                                         b) Requiring the Distributor to take immediate
       A Montana resident may cancel his or her                             corrective measures;
  Distributor Agreement within 15 days from the date of                  c) Imposition of a fine in an amount to be
  enrollment, and may return his or her starter kit and                     determined by Company, which may be
  any products and sales tools, as long as they are in                      withheld from bonus and commission
  Resalable condition, purchased within this time period                    payments;
  for a full refund.                                                     d) Loss of rights to one or more bonus and
                                                                            commission payments;
  7.4 - Procedures for All Returns                                       e) Company may withhold from a Distributor all
       The following procedures apply to all returns for                    or part of the Distributor's bonuses and
  Product Return Credit, refund, repurchase, or                             commissions during the period that Company
  exchange:                                                                 is investigating any conduct allegedly in
                                                                            violation of the Agreement. If a Distributor's
  All merchandise must be returned by the Distributor                       business is canceled for disciplinary reasons,
  or Customer who purchased it directly from It Works!.                     the Distributor will not be entitled to recover
                                                                            any commissions withheld during the
  If a Distributor is returning items to It Works! that was                 investigation period;
  returned to him or her by a personal Retail Customer,                  f) Suspension of the individual's Distributor
  the item must be received by It Works! within ten (10)                    Agreement for one or more pay periods;
  days from the date on which the Retail Customer                        g) Transfer of a portion or all of the Distributor's
  returned the merchandise to the Distributor, and must                     marketing organization or downline;
  be accompanied by the sales receipt the Distributor                    h) Involuntary termination of the offender's
  gave to the Retail Customer at the time of the sale.                      Distributor Agreement;
                                                                         i) Any other measure expressly allowed within
  All refunds and returns will be subject to the It Works!                  any provision of the Agreement or which It
  Refunds      and    Returns     Policy     located    at                  Works! deems practicable to implement and
  https://static.myitworks.com/legal/pdf/returnspoli                        appropriate to equitably resolve injuries
  cv.pdf.                                                                   caused partially or exclusively by the
                                                                            Distributor's policy violation or contractual
      No Product Return Credit, refund or replacement                       breach; o
  of product will be made if the conditions of the It                    j) Cancelation or suspension of a Distributor's
  Works! Refunds and Returns Policy are not met.                            privilege of receiving access to his or her
                                                                            downline activity report; or
  SECTION 8 - DISPUTE RESOLUTION AND                                     k) In situations deemed appropriate by
  DISCIPLINARY PROCEEDINGS                                                  Company, the Company may institute legal
                                                                            proceedings for monetary and/or equitable
  8.1 - Disciplinary Sanctions                                              relief.
       Violation of the Agreement, these Policies and
  Procedures, violation of any common law duty,                     8.2 - Grievances and Complaints
                                                                         When a Distributor has a grievance or complaint
                                                              23
Case 8:20-cv-01743-KKM-TGW                 Document 1-2            Filed 07/28/20        Page 31 of 61 PageID 65

                                                       It Works.
                                          — 908 Riverside Dr. - Palmetto. FL 34221

  with another Distributor regarding any practice or                •   The Federal Rules of Evidence shall apply in all
  conduct in relationship to their respective It Works!                 cases;
  businesses, the complaining Distributor should first              •   The Parties shall be entitled to all discovery rights
  report the problem to his or her Enroller who should                  permitted by the Federal Rules of Civil Procedure;
  review the matter and try to resolve it with the other            •   The Parties shall be entitled to bring motions
  party's upline Enroller. If the matter involves                       under Rules 12 and/or 56 of the Federal Rules of
  interpretation or violation of Company policy, it must                Civil Procedure;
  be reported in writing to the Compliance Department               •   The Federal Arbitration Act shall govern all
  at the Company. The Compliance Department will                        matters relating to arbitration. The law of the
  review the facts and resolve it.                                      State of Florida shall govern all other matters
                                                                        relating to or arising from the Agreement, without
  8.3 - Mediation                                                       regard to principles of conflicts of laws.
       For any dispute involving $10,000 or more, prior             •   The arbitration hearing shall commence no later
  to instituting any arbitration as provided in Section 8.4             than 365 days from the date on which the
  below, the parties shall meet in good faith and                       arbitrator is appointed, and shall last no more
  attempt to resolve any dispute arising from or relating               than five business days;
  to the Agreement through non-binding mediation.                   •   The Parties shall be allotted equal time to present
  One individual who is mutually acceptable to the                      their respective cases;
  parties shall be appointed as mediator. The mediator's            •   The arbitration shall be brought on an individual
  fees and costs, as well as the costs of holding and                   basis and not as part of a class or consolidated
  conducting the mediation, shall be divided equally                    action.
  between the parties. Each party shall pay its portion
  of the anticipated fees and costs at least 10 days in                  All arbitration proceedings shall be held in
  advance of the mediation. Each party shall pay its own            Manatee County, Florida. There shall be one arbitrator
  attorney fees, costs, and individual expenses                     selected from the panel that the AAA provides. Each
  associated with conducting and attending the                      party to the arbitration shall be responsible for its own
  mediation. Mediation shall be held in Sarasota or                 costs and expenses of arbitration, including legal and
  Manatee County, Florida, and shall last no more than              filing fees. The decision of the arbitrator shall be final
  two business days.                                                and binding on the parties and may, if necessary, be
                                                                    reduced to a judgment in any court to which the
  8.4 - Arbitration                                                 Parties have consented to jurisdiction as set forth in
       Except as otherwise provided in the Agreement,               the Agreement. This agreement to arbitrate shall
  any controversy or claim arising out of or relating to            survive the cancellation or termination of the
  the Agreement, or the breach thereof, shall be settled            Agreement.
  through confidential arbitration. The Parties waive
  rights to trial by jury or to any court. This arbitration             The parties, their agents, attorneys, and the
  provision applies to claims that were not successfully            arbitrator shall maintain the confidentiality of the
  resolved through the foregoing mediation process as               arbitration proceedings and shall not disclose to third
  well as claims for less than $10,000 not subject to the           parties:
  mediation requirement. The arbitration shall be filed
  with, and administered by, the American Arbitration               •   The substance of, the facts surrounding, or basis
  Association in accordance with the AAA's Commercial                   for, the controversy, dispute, or claim;
  Arbitration Rules and Mediation Procedures, which                 •   The substance or content of any settlement offer
  are available on the AAA's website at www.adr.org.
                                                                        or settlement discussions or offers Distributors
  Copies of the AAA's Commercial Arbitration Rules and                  with the dispute;
  Mediation Procedures will also be emailed to
                                                                    •   The pleadings, or the content of any pleadings, or
  Distributors upon request to It Works!' Customer
                                                                        exhibits thereto, filed in any arbitration
  Service Department. Notwithstanding the rules of the
                                                                        proceeding;
  AAA, unless otherwise stipulated by the Parties, the
                                                                    •   The content of any testimony or other evidence
  following shall apply to all Arbitration actions:
                                                                        presented at an arbitration hearing or obtained

                                                              24
Case 8:20-cv-01743-KKM-TGW                 Document 1-2            Filed 07/28/20        Page 32 of 61 PageID 66
                                                       It Works
                                             908 Riverside Dr. - Palmetto. FL 34221

      through discovery in arbitration;                             shall be liquidated damages calculated as follows:
  •   The terms or amount of any arbitration award;
  •   The rulings of the arbitrator on the procedural               • For Distributors at the Active Rank of Distributor
      and/or substantive issues involved in the case.                 through Emerald, liquidated damages shall be in
                                                                      the amount of his/her gross compensation that
       Notwithstanding the foregoing, nothing in the                  he/she earned pursuant to It Works!'
  Agreement shall prevent either party from applying to               Compensation Plan in the twelve (12) months
  and obtaining from any court to which the Parties                   immediately preceding the termination.
  have consented to jurisdiction as set forth in the                • For Distributors at the Active Rank of Diamond
  Agreement a temporary restraining order, preliminary                through Triple Diamond, liquidated damages shall
  or permanent injunction, or other equitable relief to               be in the amount of his/her gross compensation
  safeguard and protect its intellectual property rights,             that he/she earned pursuant to It Works!'
  trade secrets, and/or confidential information,                     Compensation Plan in the eighteen (18) months
  including but not limited to enforcement of its rights              immediately preceding the termination.
  under the non-solicitation provision of the                       • For Distributors at the Active Rank of Presidential
  Agreement.                                                          Diamond through Black Diamond, liquidated
                                                                      damages shall be in the amount of his/her gross
  8.5 - Damage Limitation                                             compensation that he/she earned pursuant to It
        In any action arising from or relating to the                 Works!' Compensation Plan in the twenty-four (24)
  Agreement, the parties waive all claims for incidental              months immediately preceding the termination.
  and/or consequential damages, even if the other party
  has been apprised of the likelihood of such damage.                    Gross compensation shall include commissions
  The parties further waive all claims to exemplary and             and bonuses earned by the Distributor pursuant to It
  punitive damages. Notwithstanding the foregoing, this             Works!' Compensation Plan as well as retail profits
  Damage Limitation shall not apply to claims alleging              earned by Distributor for the sale of It Works!
  the breach of the non-solicitation or confidentiality             merchandise. However, retail profits must be
  provisions contained in these Policies.                           substantiated by providing the Company with true and
                                                                    accurate copies of fully and properly completed retail
  8.6 - Indemnification.                                            receipts provided by Distributor to Customers at the
        Distributors agree to indemnify It Works! for any           time of the sale.
  and all costs, expenses, consumer reimbursements,
  fines, sanctions, damages, settlements or payments of                The Parties agree that the foregoing liquidated
  any other nature that It Works! incurs resulting from             damage schedule is fair and reasonable.
  or relating to any act or omission by Distributor that is
  illegal, fraudulent, deceptive, negligent, unethical, or              A Distributor's "Paid As" rank is the rank or title at
  in violation of the Agreement. It Works! may elect to             which they actually qualified to earn compensation
  exercise     its indemnification rights through                   under the It Works! Compensation Plan during a pay-
  withholding any compensation due the Distributor.                 period. For purposes of this Policy, the relevant pay-
  This right of setoff shall not constitute It Works!'              period to determine a Distributor's "Paid As" rank is
  exclusive means of recovering or collecting funds due             the pay-period during which the Distributor's business
  It Works! pursuant to its right to indemnification.               is placed on suspension or terminated, whichever
                                                                    occurs first. The "Paid As" rank differs from the "Title
  8.7 - Liquidated Damages                                          Rank," which is the highest title or rank that a
       In any case which arises from or relates to the              Distributor has ever achieved under the It Works!
  wrongful termination of Distributor's Agreement                   Compensation Plan.
  and/or independent business, the parties agree that
  damages will be extremely difficult to ascertain.                 8.8 - Class Action Waiver
  Therefore, the parties stipulate that if the involuntary               Any action brought by a Distributor shall be
  termination of a Distributor's Agreement and/or loss              brought on an individual basis, and not on behalf of a
  of their independent business held to be wrongful                 class or on a consolidated basis. Distributors waive all
  under any theory of law, Distributor's sole remedy
                                                              25
Case 8:20-cv-01743-KKM-TGW                  Document 1-2            Filed 07/28/20        Page 33 of 61 PageID 67
                                                        It Works
                                              908 Riverside Dr. - Palmetto. FL 34221

  rights to bring an action against It Works!, its officers,         Registration License, sales taxes will not be added to
  owners, directors, employees and agents as a class or              the invoice and the responsibility of collecting and
  consolidated action.                                               remitting sales taxes to the appropriate authorities
                                                                     shall be on the Distributor. Exemption from the
  8.9 - Governing Law, Jurisdiction and Venue                        payment of sales tax is applicable only to orders which
       Jurisdiction and venue of any matter not subject              are shipped to a state for which the proper tax
  to arbitration shall reside exclusively in Manatee                 exemption papers have been filed and accepted.
  County, State of Florida. The Federal Arbitration Act              Applicable sales taxes will be charged on orders that
  shall govern all matters relating to arbitration. The law          are drop-shipped to another state. Any sales tax
  of the State of Florida shall govern all other matters             exemption accepted by Company is not retroactive.
  relating to or arising from the Agreement.
  Notwithstanding the foregoing, and the mediation                      9.3.1 - California Sales Tax
  and arbitration provisions in Sections 8.3 and 8.4,                   The Company will be responsible for the collection
  residents of the State of Louisiana shall be entitled to           and remittance of all applicable California sales and
  bring an action against Company in their home forum                use taxes on the sale price of the products purchased.
  and pursuant to Louisiana law.                                     We cannot accept resale certificates from Distributors
                                                                     unless they hold a California Sales and Use Tax Permit
  SECTION 9 - PAYMENT AND SHIPPING                                   for selling other tangible personal property obtained
                                                                     from vendors who are not section 6015(b) retailers.
  9.1 - Chargebacks
        Unless a Distributor first contacts the Company                 9.3.2 - New Mexico Gross Receipts Taxes
  regarding the disputed charge, any Distributor or                     New Mexico state and local municipalities do not
  Customer who issues a chargeback is subject to                     have a sales tax. Instead, they have a gross receipts
  termination. Distributors must work out returns with               tax. The gross receipts tax is imposed upon persons
  Customer Service according to the Company return                   engaged in business in New Mexico. The gross receipts
  policy. A $50 fee will be issued to any Distributor who            tax applies to all sales and bonus payments received.
  issues a chargeback and the Company will not refund
  BV or commissions on any chargebacks regardless of                 Company Responsibility:
  the outcome.                                                       It Works! is required to pre-collect the state and local
                                                                     gross receipts tax on all sales of product shipped to
  9.2 - Restrictions on Third Party Use of Credit Cards              an address in the state.
        and Checking Account Access                                  It Works! shall remit these taxes collected directly to
       A Distributor shall not permit other Distributors or          the state of New Mexico on behalf of the Distributors.
  Customers to use his or her credit card or wallet, or
  permit debits to his or her checking accounts, to enroll           Distributor Responsibility:
  or to make purchases from the Company. Distributors                Distributors are required to collect the applicable
  or customers are not permitted to use a card to enroll             gross receipts tax on their sales as a reimbursement
  themselves or make purchases from the Company                      for the tax pre-collected by Company.
  that does not belong to them.
                                                                     The gross receipts tax also applies to bonus payments
  9.3 - Sales Taxes                                                  Distributors receive from It Works Marketing, Inc. As a
       It Works! will collect and remit sales taxes on               Distributor, you are responsible to register with the
  behalf of Distributors, based on the sale price of the             state for a gross receipts license and pay the
  products, according to applicable tax rates in the state           applicable tax on your bonus payments.
  or province to which the shipment is destined. Any
  distributors purchasing products at wholesale pricing              To register for a license please contact:
  and selling them at a higher price will be responsible
  for reporting and remitting any applicable state and                                 State of New Mexico
  local sales tax due. If a Distributor has submitted, and                      Taxation and Revenue Department
  Company has accepted, a current Uniform Sales and                                     1100 S. Francis Dr.
  Use Tax Exemption Certificate and Sales Tax                                       Santa Fe, NM 87504-0630
                                                               26
Case 8:20-cv-01743-KKM-TGW                Document 1-2               Filed 07/28/20        Page 34 of 61 PageID 68
                                                      It Works
                                            908 Riverside Dr.   Palmetto. FL 34221


               Telephone: (505) 827-0700                                   A Distributor's violation of any of the terms of the
                                                                      Agreement, including any amendments that may be
  SECTION 10 - INACTIVITY,      RECLASSIFICATION,       &             made by It Works! in its sole discretion, may result in
  CANCELLATION                                                        any of the sanctions listed in Section 8.1, including the
                                                                      involuntary cancellation of his or her Distributor
  10.1 - Effect of Cancellation                                       Agreement. Cancellation shall be effective on the date
       So long as a Distributor remains active, is                    of which written notice is delivered to the Distributor),
  commission qualified and complies with the terms of                 or to his/her attorney.
  the Distributor Agreement and these Policies and
  Procedures, It Works! shall pay commissions to such                     Company reserves the right to terminate all
  Distributor in accordance with the Compensation                     Distributor Agreements upon thirty (30) days written
  Plan. A Distributor's bonuses and commissions                       notice in the event that it elects to: (1) cease business
  constitute the entire consideration for the                         operations; (2) dissolve as a corporate entity; or (3)
  Distributor's efforts in generating sales and all                   terminate distribution of its products via direct selling.
  activities related to generating sales (including
  building a Marketing Organization). Following a                     10.3 - Voluntary Cancellation
  Distributor's non-renewal of his or her Distributor                     A participant in this network marketing plan has a
  Agreement, cancellation for inactivity, or voluntary or             right to cancel at any time, regardless of reason.
  involuntary cancellation of his or her Distributor                  Cancellation must be submitted in writing to the
  Agreement (all of these methods are collectively                    Company at its principal business address. The written
  referred to as 'cancellation'), the former Distributor              notice must include the Distributor's signature,
  shall have no right, title, claim or interest to the                printed name, address, and Distributor I.D. Number
  Marketing Organization which he or she operated, or                 Any commission balance earned under $15 that has
  any commission or bonus from the sales generated by                 not yet been paid may be requested in check form.
  the organization. A Distributor whose business is
  cancelled will lose all rights as a Distributor. This               10.4 - Non-Renewal
  includes the right to sell It Works! products and                       A Distributor may also voluntarily cancel his or her
  services and the right to receive future commissions,               Distributor Agreement by failing to renew the
  bonuses, or other income resulting from the sales                   Agreement on its anniversary date. If a Distributor is
  and other activities of the Distributor's former                    on the Autoshipment program, the Distributor's
  Marketing Organization. In the event of cancellation,               Autoshipment Agreement shall continue in force and
  Distributors agree to waive all rights they may have,               the former Distributor shall be reclassified as a Loyal
  including, but not limited to, property rights to their             Customer, unless the Distributor also specifically
  former Marketing Organization and to any bonuses,                   requests that his or her Autoshipment Agreement also
  commissions or other remuneration derived from                      be canceled. Any commission balance earned under
  the sales and other activities of his or her former                 $15 that has not yet been paid may be requested in
  Marketing Organization.                                             check form.

      Following a Distributor's cancellation of his or her            10.5 - Revocation     of  Consent     to    Contract
  Distributor Agreement, the former Distributor shall                      Electronically
  not as act an It Works! Distributor and shall not have                   If a Distributor who has consented to contract
  the right to sell It Works! products or services. A                 electronically revokes his or her consent, the
  Distributor whose Distributor Agreement is canceled                 Distributor's Agreement shall be cancelled.
  shall receive commissions and bonuses only for the
  last full pay period he or she was active and                       SECTION 11- DEFINITIONS
  commission qualified prior to cancellation (less any
  amounts withheld during an investigation and                        Active Distributor — A Distributor who satisfies the
  resulting sanctions preceding an involuntary                        minimum Personal Sales Volume requirements, as set
  cancellation).                                                      forth in the It Works! Compensation Plan, to ensure
                                                                      that he or she is eligible to receive bonuses and
  10.2 - Involuntary Cancellation                                     commissions for a particular month.
                                                                27
Case 8:20-cv-01743-KKM-TGW                Document 1-2            Filed 07/28/20        Page 35 of 61 PageID 69
                                                      It Works
                                            908 Riverside Dr. - Palmetto. FL 34221

                                                                   Procedures.
  Active Rank — The term 'active rank' refers to the
  current paid title of a Distributor, as determined by            Group Sales Volume — The commissionable value of
  the Company Compensation Plan, for any month. To                 It Works! products or services sold by a Distributor's
  be considered 'active' relative to a particular rank, a          Marketing Organization. Group Sales Volume includes
  Distributor must meet the criteria set forth in the It           the Personal Sales Volume of the subject Distributor
  Works! Compensation Plan for his or her respective               (Starter Kits and sales aids have no Sales Volume.) Also
  rank. (See the definition of 'Rank' below.)                      called Group Bonus Volume (GBV) in the Company
                                                                   Compensation Plan.
  Agreement — The contract between the Company
  and each Distributor includes the Distributor                    Immediate Household — Heads of household and
  Application and Agreement, the It Works! Policies and            dependent family members residing in the same
  Procedures, and the It Works! Compensation Plan, all             house.
  in their current form and as amended by It Works! in
  its sole discretion. These documents are collectively            Level — The layers of downline Customers and
  referred to as the 'Agreement.'                                  Distributors in a particular Distributor's Marketing
                                                                   Organization. This term refers to the relationship of a
  Basic Kit — A selection of electronic It Works! training         Distributor relative to a particular upline Distributor,
  materials and business support literature that each              determined by the number of Distributors between
  new Distributor is required to purchase, except in               them who are related by sponsorship. For example, if
  North Dakota, where the purchase is optional. The                A sponsors B, who sponsors C, who sponsors D, who
  Basic Kit is sold to Distributors at the Company's cost.         sponsors E, then E is on A's fourth level.
  No product purchase is required.
                                                                   Loyal Customer — A Customer who receives
  Cancel — The termination of a Distributor's business.            preferential wholesale pricing by paying a
  Cancellation may be either voluntary, involuntary,               Membership Fee or committing to an autoshipment
  through non-renewal or inactivity.                               order for a minimum of three consecutive months.

  Customer — An individual who registers with It                   Marketing Organization — The Customers and
  Works! as a Retail Customer or Loyal Customer                    Distributors sponsored below a particular Distributor.
  pursuant to the It Works! Customer Program.
  Downline Activity Report — A monthly online report               Official It Works! Material — Literature, audio or
  generated by It Works! that provides critical data               videotapes, and other materials developed, printed,
  relating to the identities of Distributors, sales                published and distributed by It Works! to Distributors.
  information, and enrollment activity of each
  Distributor's Marketing Organization. This report                Personal Production — Moving It Works! products or
  contains confidential and trade secret information               services to an end consumer for personal use.
  which is proprietary to It Works!.
                                                                   Personal Sales Volume (PSV) — The commissionable
  Downline Leg — Each one of the individuals enrolled              value or volume of services and products sold in a
  immediately underneath you and their respective                  calendar month: (1) by the Company to a Distributor;
  Marketing Organizations represents one 'leg' in your             and (2) by the Company to the Distributor's level one
  Marketing Organization.                                          personally placed Customers. Also called Personal
                                                                   Bonus Volume (PBV) in the Company Compensation
  Enroller— A Distributor who influences, solicits, or             Plan.
  otherwise assists a new Distributor or Customer to
  join It Works!, and is listed as the Enroller on the             Rank — The 'title' that a Distributor has achieved
  Distributor or Customer Application and Agreement.               pursuant to the It Works! Compensation Plan. Rank
  An Enroller is the Sponsor of a new Distributor and the          can either be paid-as rank or historic rank.
  terms Enroller and Sponsor can be used
  interchangeably for purposes of these Policies and
                                                             28
Case 8:20-cv-01743-KKM-TGW                Document 1-2            Filed 07/28/20       Page 36 of 61 PageID 70
                                                      It Works
                                            908 Riverside Dr. - Palmetto. FL 34221

  Recruit — For purposes of the Company Conflict of
  Interest Policy (Section 3.9), the term 'recruit' means
  the actual or attempted sponsorship, solicitation,               Retail Sales — Sales to a Retail Customer or a Loyal
  enrollment, encouragement, or effort to influence in             Customer.
  any other way, either directly, indirectly, or through a
  third party, another It Works! Distributor or Customer           Sponsor — See "Enroller" definition.
  to enroll or participate in another multilevel
  marketing, network marketing or direct sales                     Starter Kit — A generic term used when a distributor
  opportunity. Except in California, the foregoing                 first joins the Company and makes an initial purchase
  conduct constitutes recruiting even if the Distributor's         that includes product and/or business support
  actions are in response to an inquiry by another                 materials and literature.
  Distributor or Customer.
                                                                   Upline — This term refers to the Distributor or
  Resalable — Products and Sales aids shall be deemed              Distributors above a particular Distributor in a
  'Resalable' if each of the following elements is                 sponsorship line up to the Company. Conversely
  satisfied: 1) they are unopened and unused; 2)                   stated, it is the line of sponsors that links any
  packaging and labeling has not been altered or                   particular Distributor to the Company.
  damaged; 3) they are in a condition such that it is a
  commercially reasonable practice within the trade to
  sell the merchandise at full price; 4) they are returned
  to It Works! within 60 days for starter Kits and 30 days
  for product from the date of purchase; and 5) the
  product contains current It Works! labeling. Any
  merchandise that is clearly identified at the time of
  sale as discontinued, or as a seasonal item, shall not
  be Resalable.

  Retail Customer — An individual who purchases It
  Works! products but who is not a Loyal Customer or a
  Distributor.




                                                             29
Case 8:20-cv-01743-KKM-TGW                 Document 1-2           Filed 07/28/20     Page 37 of 61 PageID 71


                                                          Works




                                                     It
                                          908 Riverside Dr. Palmetto. FL 34221


     SOCIAL MEDIA AND INTERNET ADDENDUM TO POLICIES AND PROCEDURES

  A. 1     General (applying to both online and offline marketing and promotion)
  It is your responsibility to safeguard and promote the good reputation of the It Works! brand; to ensure that
  your marketing efforts contribute to the public interest; and to avoid discourteous, deceptive, misleading,
  unethical or immoral conduct or practices.

  A. 2     It Works! Independent Distributor Logo / Identity
  If you use an It Works! logo in any communication, you must use the Independent Distributor version of the
  logo. Using any other It Works! logo requires written approval. Please see examples below:

  Logo(s) Approved for Independent Distributor Use




      A
                 It Works
                  INDEPENDENT DISTRIBUTOR

  Logos NOT Approved for Independent Distributor Use



  z84.).
  w It Worksi,
  A. 3    Trademarks and Copyrights
  You may not use It Works!© trade names, trademarks, designs, images or symbols without prior written
  permission, except as outlined in this Add. 3. Video or audio recordings of company events, training and/or
  speeches are also copyrighted and may not be distributed without written permission.

  The name It Works!® is a trademark of It Works Marketing, Inc., is of great value to the Company, and is
  supplied to you for your use only in an authorized manner. Use of the It Works! name on any item not produced
  or authorized by the Company is prohibited.

  As a Distributor you may use the It Works! name in the following manner:

  Distributor's Name
  Independent Distributor, It Works!
  or: It Works! Independent Distributor
  Example:
  Sarah Jones
  Independent Distributor, It Works!

  A. 4    Social Media and Online Aliases
  In accordance with 3.2.5 you are not allowed to use or register It Works! or any It Works! trademarks, product
  names, or any derivatives of for any social networking profiles or online aliases. Additionally, you cannot use

                                                          30
Case 8:20-cv-01743-KKM-TGW                 Document 1-2          Filed 07/28/20         Page 38 of 61 PageID 72


                                                         Works




                                                    It
                                         908 Riverside Dr. Palmetto. FL 34221

  or register domain names, e-mail addresses, and/or online aliases that could cause confusion, or be misleading
  or deceptive in that they cause individuals to believe or assume the communication is from, or is the property
  of, It Works!.

  A. 5     Use of Third Party Intellectual Property
  If you use the trademarks, trade names, service marks, copyrights, or intellectual property of any third party in
  any posting, it is your responsibility to ensure that you have received the proper license to use such intellectual
  property and have paid the appropriate license fee. All third-party intellectual property must be properly
  referenced as the property of the third-party, and you must adhere to any restrictions and conditions that the
  owner of the intellectual property places on the use of its property.

  A. 6      Advertising Templates and Approval
  You may only advertise or promote your It Works! business using approved tools, templates, ads, or images
  acquired through your eSuite downloads. No approval is necessary to use these approved tools. Any designs
  or images in your eSuite downloads are exclusive property of the Company and are to be used strictly in the
  format provided. Unauthorized use of these designs and/or the images contained therein is a direct violation
  of the copyright laws and can lead to prosecution and/or termination of your Distributor account. (see Section
  3.2, infra)
  If Independent Distributors are creating their own ads or marketing material, these must be submitted to the
  It Works! Compliance Department for approval before they may be used. There are exceptional cases in which
  new ideas for advertising/promotional material will be considered for future projects. These new ideas must
  be submitted to nnarketingtools@itworks.com for further review. A Distributor should not anticipate that
  approval will be granted.

  A. 7    Media and Media Inquiries
  Any inquiries by press or the media, including blogs, radio, or television, are to be referred immediately to the
  Public Relations Department of the Company. This policy is to assure accuracy and consistent public image.
  Additionally, you are not allowed to proactively contact the media or distribute any form of press release that
  includes information about It Works!, its products, or the opportunity without prior written approval from It
  Works!.

  A. 8     Independent Distributor Release
  By entering into the Distributor Agreement, you authorize It Works! to use your name, testimonials, and/or
  likeness in It Works! advertising or promotional materials with no remuneration. Additionally, you consent to
  and authorize the use and reproduction of any photographs taken by or supplied to the Company, and further
  consent to the use and reproduction of any quotes, testimonials, stories, conversations on social networking
  media for any print or electronic publicity, marketing or promotional purposes, without remuneration.

  DISTRIBUTOR WEBSITES

  A. 9     It Works! Replicated Websites
  Independent Distributors are allowed to advertise on the internet only through the It Works! provided
  replicated websites or as otherwise approved by the It Works! Compliance Department. Independent
  Distributors are allowed to put their own contact information on these sites as they directly link to the
  Company website, giving the Independent Distributor a professional and company-approved presence on the
  Internet. These replicated websites may be used by Independent Distributors. Without first receiving the
  Compliance Departments full review and approval, no Independent Distributor may design and/or utilize a
  website that uses the trademarked names, logos, or product descriptions of the Company. No Distributor may
  use 'blind' ads on the Internet that make product or income claims which are ultimately associated with

                                                          31
Case 8:20-cv-01743-KKM-TGW               Document 1-2           Filed 07/28/20       Page 39 of 61 PageID 73


                                                        Works




                                                   It
                                        908 Riverside Dr. Palmetto. FL 34221

  Company products or the Company's Compensation Plan. You are solely responsible and liable for the content
  that you add to any Compliance approved or It Works! replicated website and must regularly review the
  content (every 30 days) to ensure it is accurate and relevant, and not does not make any drug, medical,
  misleading or non-compliant claims

  A.10 External Websites
  All external websites must be submitted to the Compliance Department for initial review prior to being
  public/live, and any updates or changes to the website will need to be resubmitted to the Compliance
  Department for approval. Websites will need to be resubmitted for review on a yearly basis to make sure
  original content still meets current policy. External Distributor websites should not be confusingly similar to
  corporate websites and must prominently display the It Works! Independent Distributor logo.

  Until your external website is approved by the Compliance Department, you must use your It Works! replicated
  website only.

  All product descriptions and prices must come directly from the corporate website/product information sheets.
  This information can be gathered when clicking on the product image linked to the corporate website and will
  always be current. No custom product or service descriptions or prices are allowed on Distributor created
  websites.

  Each Distributor may only advertise products available in the Distributor's home country on the external
  website. Information regarding other countries can be directed to the Distributor's replicated website using
  the country drop down function. In countries outside of the Distributor's home country, Distributors may
  purchase additional domain names that are directly linked to the Distributor replicated website in a specific
  country if they want country specific advertising.

  No shopping carts are allowed on external websites— all sales must be directed to the replicated website for
  purchase and payment through It Works!.

  Lead generation to collect contact information will be allowed provided there is no call center and orders are
  not taken over the phone, rather it must go through the normal process, i.e. Distributor's replicated website
  or through eSuite after collecting the appropriate prospective Distributor or Loyal Customer information on
  the signed form.

  Google or any other AdWords cannot be misleading and must specifically state "Independent Distributor".
  Distributors are prohibited from purchasing corporate trademarks in Google AdWords or other similar search
  protocols.

  A. 11   Blogging

  Blog Sites
  You are allowed one external blog to personalize your It Works! business and/or promote the opportunity. If
  you wish to develop an external blog you must do the following:
  1. Submit for approval and register your blog with the It Works! Compliance Department. Blogs must be
  approved before going live. Approvals may take 2-4 weeks, depending on content.
  2. Adhere to the branding and image usage policies described in this document.
  3. Agree to modify your site to comply with current or future policies.
  4. Agree to remove all references to It Works! from your registered site within 5 days, in
  the event of the voluntary or involuntary cancellation of your Independent Distributor Agreement.

                                                        32
Case 8:20-cv-01743-KKM-TGW                 Document 1-2          Filed 07/28/20         Page 40 of 61 PageID 74


                                                         Works




                                                    It
                                         908 Riverside Dr. Palmetto. FL 34221

  A blog developed on a blogging platform that is developed for the primary purpose of marketing or promoting
  It Works! products and/or the It Works! opportunity must be registered with the Compliance Department.

  Blog Content
  You are solely responsible and liable for your own blog content, messaging, claims, and information and must
  ensure that your blog appropriately represents and enhances the It Works! brand and adheres to company
  guidelines and policies. Additionally, your blog must not contain disingenuous popup ads or promotions or
  malicious code. All decisions and corrective actions are at the Company's sole discretion.

  It Works! Independent Distributor Image Mandate
  To avoid confusion, the following three elements must be prominently displayed at the top of your registered
  blog:
  1. The It Works! Independent Distributor Logo;
  2. Your Name and the phrase 'It Works! Independent Distributor'; and
  3. Your Photo.
  Although It Works! brand themes and images are desirable for consistency, anyone landing on your page needs
  to clearly understand that they are at an Independent Distributor's site and not an It Works! Corporate site.

  Blog Must Exclusively Promote It Works!
  Your registered external blog must contain content and information that is exclusive to It Works!. You may not
  advertise other products or services other than the It Works! product line and the It Works! opportunity. Any
  site or profile you maintain that uses It Works!' trademarks must exclusively promote It Works!.

  A. 12 No e-Commerce or Stock-and-Sell Retailing
  You may not stock and sell It Works! products, nor may you develop an e-commerce environment that would
  facilitate this model. All orders must be placed through your official It Works! replicated website or eSuite. It
  is expressly against Company policy for a Distributor to accept PayPal, credit cards or other payment solutions
  for the purchase of Company product.

  A. 13. It Works! Marketing Hotlinks
  When directing readers to your replicated website, the link and surrounding context must expressly
  demonstrate to a reasonable reader that the link will be directed to the website of an Independent Distributor.
  Attempts to mislead web traffic into believing they are going to the It Works! corporate site, when in fact they
  land at an Independent Distributor's replicated website, is not allowed. The determination as to what is
  misleading or what constitutes a reasonable reader will be at the Company's sole discretion.

  A. 14 Removing It Works! References in the event of Independent Distributor Termination
  In the event of the voluntary or involuntary cancellation of your Independent Distributor Agreement, you are
  required to remove all references to It Works! within 5 days. Independent Distributors must discontinue using
  the company name and all of It Works!' trademarks, trade names, service marks, and other intellectual
  property, and all derivatives of such marks and intellectual property, in any postings and all 'Social Media' sites
  that you utilize. If you post on any 'Social Media' site on which you have previously identified yourself as an It
  Works! Independent Distributor, you must conspicuously disclose that you are no longer an It Works!
  Independent Distributor.

  ONLINE ADVERTISING, MARKETING AND PROMOTION




                                                          33
Case 8:20-cv-01743-KKM-TGW                 Document 1-2          Filed 07/28/20         Page 41 of 61 PageID 75


                                                         Works




                                                    It
                                         908 Riverside Dr. Palmetto. FL 34221

  A. 15 Social Media
  'Social Media' and social bookmarking including, but not limited to, blogs, Facebook, Instagram, MySpace,
  Twitter, Linkedln, and others, may be used by Distributors. However, Independent Distributors who elect to
  use Social Media must adhere to the requirements set forth in this Addendum as well as other It Works! policies
  and the Terms and Conditions set forth in those particular Social Media websites.

  A. 16 Distributors Are Responsible for Their Postings
  Independent Distributors are personally responsible for their own postings and all other online activity
  conducted on behalf of the Independent Distributor's business, and which can be traced back to the Company,
  and will be held fully responsible for any such activities. This applies even if an Independent Distributor does
  not own or operate a blog, website, or social network site. If an Independent Distributor posts any comment
  to any such site that relates to It Works! or which can be traced to the Company, the Independent Distributor
  is responsible for the posting. No claims as to therapeutic or curative properties about the products may be
  made except those officially approved in writing by the Company or as contained in the official Company
  literature. In particular, no Independent Distributor may make any claim that the Company products are useful
  in the treatment or cure of any disease. Such statements can be perceived as medical claims. Not only is this
  against Company policy, but it is also against the laws governed by the United States Food and Drug
  Administration.

  A. 17  Identification as an It Works! Independent Distributor
  You must disclose your full name on all social media postings and conspicuously identify yourself as an
  Independent Distributor for It Works!. Anonymous postings or use of an alias is prohibited.

  A. 18 Truthfulness in Online Postings
  It is your obligation to ensure your postings and other online marketing activities are truthful, are not deceptive
  and do not mislead customers or prospects in any way. Postings that are false, misleading, or deceptive are
  prohibited. This includes, but is not limited to, false or deceptive postings relating to the It Works! income
  opportunity, It Works! products and services, or your biographical information and credentials.

  A. 19 Respecting Privacy
  Always respect the privacy of others in your postings. Independent Distributors must not engage
  in gossip or advance rumors about any individual, company, or competitive products or services. Independent
  Distributors may not list the names of other individuals or entities on their postings unless they have the
  written permission of the individual or entity that is the subject of their posting.

  A. 20 Professionalism
  You must ensure that your postings are truthful and accurate. This requires that you fact-check all material
  that you post online. You should also carefully check your postings for spelling, punctuation, and grammatical
  errors. Use of offensive language is prohibited.

  While we are one team with one mission, our Distributors are independent contractors and not employees of
  It Works!. Any religious, political or other personal views or opinions made by Distributors are not necessarily
  representative of It Works!. If you believe an offensive comment appears to come from the Company, its
  Distributors or involves Company products, then please contact the Compliance Department at
  compliance@itworks.com. We encourage our Distributors to uphold the highest level of standards and to be
  kind to one another. If the matter is a violation of the law please contact the local authorities for proper
  assistance.




                                                          34
Case 8:20-cv-01743-KKM-TGW                 Document 1-2          Filed 07/28/20         Page 42 of 61 PageID 76


                                                         Works




                                                    It
                                         908 Riverside Dr. Palmetto. FL 34221

  A. 21 Prohibited Postings
  Independent Distributors may not make in conjunction with the It Works! company, business or products any
  comments or link to any posting or other material that:
      • Is sexually explicit, obscene, or pornographic;
      • Is offensive, profane, hateful, threatening, harmful, defamatory, libelous, harassing, or discriminatory
         (whether based on race, ethnicity, creed, religion, gender, sexual orientation, physical disability, or
         otherwise);
      • Is graphically violent, including any violent video game images;
      • Is solicitous of any unlawful behavior;
      • Engages in personal attacks or that is disparaging on any individual, group, or entity;
      • Is in violation of any intellectual property rights of the Company or any third party.

  A. 22 Responding to Negative Posts
  Do not converse with one who places a negative post against you, other Independent Distributors, or It Works!.
  Report negative posts to the Compliance Department. Responding to such negative posts often simply fuels
  discussions with those who do not hold themselves to the same high standards as It Works! and therefore
  damages the reputation and goodwill of the Company.

  INTERNET ADVERTISING / AWARENESS GENERATION

  A. 23    Online Classifieds
  You or another party acting on your behalf may not use online classifieds to advertise, list, sell or retail the It
  Works! product line or opportunity. This includes but is not limited to Craigslist, Kijiji, Facebook Buy Sell Swap
  pages or other garage sale type sites or any other online classified websites.

  A. 24   eBay / Online Auctions
  You or another party acting on your behalf may not use online auctions to advertise, list, sell or retail the It
  Works! product line or opportunity. You may not list or sell It Works! products on eBay or other online auctions,
  nor may you enlist or allow a third party (Customer) to sell It Works! products on eBay or other online auctions.

  A. 25 Online Retailing
  You may not list or sell It Works! products on any online retail store or e-commerce site, nor may you enlist or
  allow a third party (Customer) to sell It Works! products on any online retail store or e-commerce site.

  A. 26 Promotions
  Distributors should only be advertising and using Company sponsored promotions or sales. Distributors are
  prohibited from offering their own promotions or discounts to prospective Distributors or Customers that
  would create an unfair advantage.

  Prohibited promotions include, but are not limited to:
     a) Offering free product, cash or offers to pay for starter kits as a direct incentive to enroll new
          Distributors or Loyal Customers.
      b) Offering giveaways of over $25 in value without requiring enrollment or the purchase of product in an
          attempt to gain social media followers or prospects.
      c) Advertising pricing on any It Works! product at or below 120% of the Loyal Customer price found at
          www.itworks.com. The Company recommends that all Distributors offer products for sale without the
          Loyal Customer commitment at the Company's suggested retail price.



                                                          35
Case 8:20-cv-01743-KKM-TGW                Document 1-2           Filed 07/28/20        Page 43 of 61 PageID 77


                                                        Works




                                                   It
                                         908 Riverside Dr. Palmetto. FL 34221

      d) Offering wholesale pricing to others without signing them up as a Distributor or Loyal Customer.
         Wholesale pricing is only available to the account holder. Distributors may not use their accounts to
         drop ship products to others.
      e) Making any claim that implies an unfair advantage, such as 'lowest price'.

  Distributor organizational promotions for existing Customers or Distributors within the downline are exempt
  from this requirement.

  A. 27 Banner Advertising
  You may place banner advertisements on a website provided you use It Works!-approved templates and
  images. All banner advertisements must link to your replicated website or an It Works!-approved website. You
  may not use blind ads or web pages that make product or income claims that are ultimately associated with It
  Works! products or the It Works! opportunity.

  A. 28 Unsolicited Email Spamming / Mass Emailing
  You are not allowed to transmit mass, unsolicited emails to promote It Works!, its products or the business
  opportunity to people whom you do not know or who have not given you permission to contact them. People
  who are 'opt-in' subscribers, who have initiated a request to be included in bulk e-mailing, newsletter, or other
  standardized communications from you, are allowed. Review Section 3.2.8 of the Policies and Procedures, for
  a comprehensive discussion of the Company Policies regarding Mass emailing.

  A. 29 Spam Linking
  Spam linking is defined as multiple consecutive submissions of the same or similar content into blogs, wikis,
  guest books, websites or other publicly accessible online discussion boards or forums and is not allowed. This
  includes blog spamming, blog comment spamming or spamdexing. Any comments you make on blogs, forums,
  guest books etc. must be unique, informative and relevant. You may not use blog spam, spamdexing or any
  other mass-replicated methods to leave blog comments. Comments you create or leave must be useful, unique,
  relevant and specific to the blog's article.

  A. 30 Social Networking Sites (Facebook/Twitter/Linkedln)
  We encourage Distributors to view, like, comment, and share content provided to you from our corporate
  Facebook fan page: www.facebook.com/TheOfficialltWorks. However, Distributors are prohibited from
  posting their website link, phone number, or Facebook fan page URL on our corporate It Works! social media
  pages. Our goal is to keep the It Works! social media pages a friendly environment for all potential customers,
  current customers, and Distributors. Posting your fan page link or website URL will result in your post being
  marked as "spam" and could result in losing access to the It Works! fan page.

  You may use social networking sites (Facebook, Twitter, Linkedln, blogs, forums and other socially shared
  interest sites) to share information about the It Works! products and opportunity, and for prospecting and
  sponsoring, based upon the It Works! marketing model; however, these sites may not be used to sell or
  facilitate the transfer of products. All sales must go through an It Works!-approved site.

  Profiles you generate in any social community where you mention or discuss It Works! must clearly identify
  you as an Independent Distributor, include your photo as your main profile picture, and when you participate
  in those communities, you must avoid inappropriate conversations, comments, images, video, audio,
  applications or any other adult, profane, discriminatory or vulgar content. The determination of what is
  inappropriate is at the Company's sole discretion, and offending Independent Distributors will be subject to
  disciplinary action up to and including termination. If fan pages or groups are created and you wish to use It
  Works! in the title, it must include Independent Distributor and your full name. You will also need to include

                                                         36
Case 8:20-cv-01743-KKM-TGW                 Document 1-2          Filed 07/28/20         Page 44 of 61 PageID 78


                                                         Works




                                                    It
                                         908 Riverside Dr. Palmetto. FL 34221

  your picture and/or the Independent Distributor logo as the profile picture. Product names or product claims
  may not be used as titles. Banner ads and images used on these sites must be current and be your own photo
  or come from the downloads section of your eSuite. Distributors are not approved to use corporate images or
  logos on such sites unless found in the eSuite downloads. If a link is provided, it must link to your replicated
  website or an It Works!-approved site. Any claims made through social network posting must conform to all
  current corporate-provided advertising/marketing material. If requested, you must add It Works! Compliance
  as a group member.

  A. 31 Digital Media Submission (YouTube, iTunes, PhotoBucket etc.)
  All video content must be submitted and approved by our Compliance Department prior to posting. Approvals
  can take 2-4 weeks for a response, depending on content. These submissions must clearly identify you as an
  Independent Distributor (either in the content itself and/or in the content description tag), must comply with
  all advertising policies, copyright/legal requirements, and must state that you are solely responsible for this
  content and not It Works!. You may not upload, submit or publish any content (video, audio, presentations or
  any computer files) received from It Works! or captured at official corporate events or in buildings owned or
  operated by It Works! without prior written permission from the It Works! Compliance Department.

  A. 32    Sponsored Links / Pay-Per-Click (PPC) Ads
  Sponsored links or pay-per-click ads (PPC) are acceptable. The destination URL must be to either your replicated
  website or an It Works!-approved site. The display URL must also be to either your replicated website or an It
  Works!-approved site, and must not portray any URL that could lead the user to assume they are being led to
  an It Works! corporate site or be inappropriate or misleading in any way.

  Websites and web promotion activities and tactics that mislead or are deceptive, regardless of intent, will not
  be allowed. This may include spam linking (or blog spam), unethical search engine optimization (SEO) tactics,
  misleading click-through ads (i.e. having the display URL of a PPC campaign appear to link to an official It Works!
  corporate site when it goes elsewhere), unapproved banner ads, and unauthorized press releases. It Works!
  will be the sole determinant of truthfulness and whether specific activities are misleading or deceptive.




                                                          37
  Case 8:20-cv-01743-KKM-TGW   Document 1-2   Filed 07/28/20   Page 45 of 61 PageID 79




                           
                                




       
 


                                                                             



  Case 8:20-cv-01743-KKM-TGW                                   Document 1-2                    Filed 07/28/20                   Page 46 of 61 PageID 80



      
    
                                                                           
                                                                             
                                                                      

                                                             
                                                                             
                                                                      

                                                                         
                                                            




                                                                                                                                                              



      Case 8:20-cv-01743-KKM-TGW                                         Document 1-2                     Filed 07/28/20                    Page 47 of 61 PageID 81



                       
                             
                       
                       
                         


                     

      

      
      
      

       
         
         
         
      
       
         
         
         
         
         


       
         
         


      
      
      
      







                                                                                                                                                                           


   
   Case 8:20-cv-01743-KKM-TGW                     Document 1-2          Filed 07/28/20        Page 48 of 61 PageID 82

     
     
      

                    
     
                                                                       
     
                                                                        
     
                                                                        
     
                                                                        
     
                    
               
                     
                                                    
                                                                         
                              
        
                                                                       
                                  
                                                            
                                                                         
                                                                         
                                                                         
                                                                         
                                                                       
                                                                         
                                                                         



      
     
     




                                   
                                              
                                          

     


                                                                                   
                                                                                  
                                                                                   
                                 
                             
                                                                                


   
      Case 8:20-cv-01743-KKM-TGW                                              Document 1-2                        Filed 07/28/20                      Page 49 of 61 PageID 83




            

         
         
         
         
         



        
        
                                           
                                            
                                            
                                              
                                            




                                                                                                 
                                                                                      




                                                                                                         
                                                                                      
                                                                                                        
                                                                                   
                                                                                    
                                                                                                        
      
        
        


             
             




 




                                                                                                                                                                                           


   
       Case 8:20-cv-01743-KKM-TGW                                                     Document 1-2                            Filed 07/28/20       Page 50 of 61 PageID 84



     

                                                               
                                                                       
                                                                      
                                                                           
                                                                        
                                                                    
                                                                            
                                                                    
                                                                      
                                                                       
                                                                         
                                                                       
                                                                   
                                                                     
                                                                                                                     

                                                                                                                           
                                                                                                                           
                                                                                                                      
                                                                          
                                                                         
         
         


         
         
         
         
         
         





                                                                                                                                                                        


  
       Case 8:20-cv-01743-KKM-TGW                                                  Document 1-2                          Filed 07/28/20                      Page 51 of 61 PageID 85




                                                                                                                                                                                  



                                                                                                    




                                                                                                                                                    
                                                                                                                                                                                        

                                                                                                                                                         
                                                                                                             

                                                                                                                                                            
                                                                                                                                               
                                                                                                                                                                           
                                                                                                                                                 
                                                                                                                                                                               
                                                                                                                                    
                                                                                                                                                                     
                                                                                                                              
                                                                                                                                                      
                                                                                                                              
                                                                                                                                                                               



                                                                                                                                                                            

                                                                                                                                                                            

                                                                                                                                                                                 

                                                                                                                                                                                   

                                                                                                                                                                                     

                                                                                                                                                          


        
        
        



         




                                   


  
       Case 8:20-cv-01743-KKM-TGW                                                  Document 1-2                          Filed 07/28/20                        Page 52 of 61 PageID 86




                                                                                                                                                                           
                                                                                                                                                               
                                                                                                                   
                                                 




                                                                                                                                                                      
                                                                                                                                                                       
                                                                                           
                                                                                            
                                                     
                                                                                                                                                                                   
                                                                                                                    
                                                 
                                                                                                                                                                   
                                                                                                                                                                                     
                                                                                                                                                                     
                                               
                                                                                                                                                                
                                         
                                                                                                                                                                                  
                                                                                                                                                         
                                                                                                                                
                                                                                                                                                                          
                                                                                                                        
                                           
                                                                                                                               
                                              
                                                                                                                                 
                                               
                                                                                                                                      
                                             
                                                                                                                                            
                                                



                                                                                                                                                                   
   

                                                                                                                                                                        
                                                                                                                            
                                                                                                                                                                    

                                                                                                                                                                              
                                                                                                                                             
                                                                                                                                                                            

                                                                                                                                                                                    
                                                                                                                                                                        
                                                                                                                                                                          

                                                                                                                                                                                          
                                                                                                                                                                               
                                                                                                                                                                                            
                                                                                                                                                 
                                     
                                                                                                                                                             



                              


  
       Case 8:20-cv-01743-KKM-TGW                                                    Document 1-2                          Filed 07/28/20                         Page 53 of 61 PageID 87




              

               
               
               


                                                                                    

                                                                                           

                                                                                        
                                                                                               

                                                                                        
                                                                                               

                                                                                 
                                                                                               

                                                                                 
                                                                                               

                                                                           
                                                                                               

                                                                             
                                                                                               
               








               
               
               










 
               


   
   Case 8:20-cv-01743-KKM-TGW                   Document 1-2    Filed 07/28/20      Page 54 of 61 PageID 88



      

                                               
              
            
                              
                                                                  
    
                                                                  
               
    
                                                                  
    
                                                                  
              
    
                                                                  
    
                                                                  
                
    
                                                                  
    
                                                                  
         
    
                                                                  
    
                                                                  
               
    
                                                                  
             
                                   
                                      
                                                                  
                     
                   
                
             
    
                                                                  
                               
                
    
    




                                                                                                         


  
   Case 8:20-cv-01743-KKM-TGW                   Document 1-2    Filed 07/28/20         Page 55 of 61 PageID 89


                                                
                
              
          
          
    
                                                               
                                           
          
    
                                                               
                                                  
                
                                              

                                                  
               
        
    
                                                               
                                           
              
                    
                                                               
    
                                                               
    
             
       
                   
                                                               
    
                                                               
    
                                                               
    
                                                               
    
                                                               
    
            
             
           
    
    




                                                                                                            


  
   Case 8:20-cv-01743-KKM-TGW                  Document 1-2   Filed 07/28/20     Page 56 of 61 PageID 90




                
                        



      

               
              
               
            
                                                   
                                                                
                                                                
                                                   
                
         
                                
                                                                

                                  
                 
          
             
    




                                                                                                     


  
   Case 8:20-cv-01743-KKM-TGW             Document 1-2        Filed 07/28/20     Page 57 of 61 PageID 91



 
 
 
                                                       

                                                                      


                                                
     
                                     




                                 
                                   




                                   
                                         

          

                           


          
          
                           
                                                                              
          




                                                                
                                                                         

                                                                                                     


  
   Case 8:20-cv-01743-KKM-TGW                     Document 1-2            Filed 07/28/20       Page 58 of 61 PageID 92



 
 
 

                                                                                                                  
                                                                                                            
                                                                                                           
                                                                                                                  



                              
                              
                              
                       
                           
                                                                        




                                                                                                                     
                                                                                               
                          


                            
                                          
                   
  
  
  
                                                                     
                                                                                                        


                                                                                         
                                                                                         
                                                                                         
                                                                                         
                                                                      
                                                                                   

                                         
                                         
                                
                                      
                                         
                                         




                             
                                      
                                                                                                                      


   
   Case 8:20-cv-01743-KKM-TGW                 Document 1-2    Filed 07/28/20       Page 59 of 61 PageID 93




                
              
                
           
               
           
                           
                                                             
              
    
                                                             
    
                                                             
    
           
           
            
               
          
                                           
                                                             
    
                                                             
    
                                                             
                
    
                                                             
    
                                                             
         
    
                                                             
    
                                                             
    
    
    
    
    
    




                                                                                                       


  
   Case 8:20-cv-01743-KKM-TGW                  Document 1-2          Filed 07/28/20         Page 60 of 61 PageID 94








                 
                
    
                                                                   
    
                                                                   
    
                                                                   
    
                                                                   
    
                                                                   
    
                                                                   
    
                                                                   
    
                                                                   
    
                                                                   
                   
                  
    
                                                                   
    
                                                                   
    
                                                                   
    
                                                                   
    
                                                                   
    
                                                                   
    

                         

                                                 

                                              
                                                     

                                       
                                                     

                                       
                                                     

                                 
                                                     

                                   
                                                     

                                                                                                                  


  
                                                                             
Page 61 of 61 PageID 95




                                                                                                                                                               
                                                                                                                          
                                                                              
                                                                                                                                                                               
                                                                                      
                                                                                                                              
                                                                                                                                                    
                                                                                                                                                         
Filed 07/28/20




                                                                                                                                                             
                                                                                                                                                        
                                                                                                                                                     
                                                                                                                                            
Document 1-2




                                                                                                                                            
                                                                                                                                     
                                                                                                                                     
Case 8:20-cv-01743-KKM-TGW




                                                                                                                     
  
  
  
  
  
  
  
  
  
  
                              
  
  
                                                                                                                                                              
